Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 1 of 65 Page ID #702




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

HENRY DAVIS, et al.,                 )
    Plaintiffs,                      )
                                     )
                                     )
   vs.                               )   Case No. 3:16-cv-600-MAB
                                     )
ROB JEFFREYS,                        )   Judge Mark A. Beatty
     Defendant.                      )


                  MEMORANDUM OF LAW IN SUPPORT OF
              PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 2 of 65 Page ID #703




                                                  TABLE OF CONTENTS

                                                                                                                                      Page

INTRODUCTION .......................................................................................................................... 1

PROCEDURAL HISTORY............................................................................................................ 7

STATEMENT OF FACTS ............................................................................................................. 9

          IDOC’S Policies And Practices Deprive Prisoners In Its Custody Of Their
          Constitutionally-Guaranteed Due Process Rights ............................................................. 11

          Inhumane and Unconstitutional Living Conditions in Extreme Isolation ...................... 133

          IDOC is Aware That the Conditions in Its Prisons Are Inhumane and
          Unconstitutional And Still Refuses to Take Reasonable Steps to Remedy Its
          Unconstitutional Policies And Practices ......................................................................... 166

LEGAL STANDARD ................................................................................................................... 19

ARGUMENT ................................................................................................................................ 20

I.        THE CLASS IS TOO NUMEROUS FOR JOINDER TO BE PRACTICAL .................. 20

II.       IDOC’S UNCONSTITUTIONAL POLICIES AND PRACTICES PRESENT
          QUESTIONS OF FACT AND LAW THAT ARE COMMON TO THE CLASS........... 23

          A.         IDOC Systematically Exposes the Class to Inhumane Conditions that
                     Constitute Cruel and Unusual Punishment ........................................................... 27

                     1.         IDOC’s Extreme Isolation Practices Expose Class Members to Significant
                                Risks of Physical and Mental Harm.......................................................... 27

                     2.         IDOC Staff Subjects the Class to Persistent, Excessive Physical and
                                Verbal Abuse ............................................................................................ 34

          B.         IDOC’s Hearing and Review Policies Violate the Class’s Due Process Rights ... 35

                     1.         IDOC’s Use of Extreme Isolation Interferes with the Class’s Protected
                                Liberty Interest .......................................................................................... 35

                     2.         The Hearing and Review Procedures for the Class in Extreme Isolation
                                Fail to Meet the Minimum Requirements of Due Process ........................ 37

III.      PLAINTIFFS ARE TYPICAL OF THE CLASS ............................................................. 40

          A.         Henry Davis .......................................................................................................... 41



No. 3:16-600-MAB                                                                                                                             i
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 3 of 65 Page ID #704




          B.         Douglas Coleman .................................................................................................. 43

          C.         Aaron Fillmore ...................................................................................................... 46

          D.         Jerome Jones ......................................................................................................... 47

          E.         DeShawn Gardner ................................................................................................. 49

          F.         Percell Dansberry .................................................................................................. 50

IV.       NAMED PLAINTIFFS AND THEIR COUNSEL WILL ADEQUATELY
          REPRESENT THE CLASS .............................................................................................. 52

V.        FINAL INJUNCTIVE RELIEF AGAINST IDOC IS APPROPRIATE
          RESPECTING THE CLASS AS A WHOLE................................................................... 54

CONCLUSION ............................................................................................................................. 55




No. 3:16-600-MAB                                                                                                                            ii
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 4 of 65 Page ID #705




                                              TABLE OF AUTHORITIES

                                                                                                                             Page(s)

Cases

Allen v. City of Chicago,
    828 F. Supp. 543 (N.D. Ill. 1993) ............................................................................................20

Amgen Inc. v. Connecticut Ret. Plans & Trust Funds,
  133 S. Ct. I184 (2013)..............................................................................................................19

Arenson v. Whitehall Convalescent & Nursing Home,
   164 F.R.D. 659 (N.D. Ill. 1996) ...............................................................................................22

Arreola v. Godinez,
   546 F.3d 788 (7th Cir. 2008) ...................................................................................................52

Barragan v. Evanger’s Dog & Cat Food Co.,
   259 F.R.D. 330 (N.D. Ill. 2009) ......................................................................................... 20-21

Boundas v. Abercrombie & Fitch Stores, Inc.,
   280 F.R.D. 408 (N.D. Ill. 2012) ...............................................................................................23

Brand v. Comcast Corp., Inc.,
   302 F.R.D. 201 (N.D. Ill. 2014) ...............................................................................................23

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   289 F.R.D. 80 (E.D.N.Y. 2013) ...............................................................................................24

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   No. 12-Civ-155, 2013 WL 139938 (D. Mont. Jan. 10, 2013) ...........................................24, 26

Copeland v. Washington,
   162 F.R.D. 542 (N.D. Ill. 1995) ...............................................................................................54

Earl v. Racine County Jail,
   718 F.3d 689 (7th Cir. 2013) .....................................................................................................8

Farmer v. Brennan,
   511 U.S. 825, 114 S.Ct. 1970, 128 L.Ed.2d 811 (1994) ......................................................7, 27

Fields v. Maram,
    No. 04-C-0174, 2004 WL 1879997 (N.D. Ill. Aug. 17, 2004) ................................................22

U.S. ex rel. Green v. Peters,
   153 F.R.D. 615 (N.D. Ill. 1994) ...............................................................................................22




No. 3:16-600-MAB                                                                                                                     iii
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 5 of 65 Page ID #706




Grieveson v. Anderson,
   538 F.3d 763 (7th Cir. 2008) ................................................................................................. 7-8

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   509 U.S. 25, 113 S.Ct. 2475, 125 L.Ed.2d 22 (1993) ................................................................7

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   311 F.R.D. 177 (N.D. Ill. 2015) .............................................................................21, 22, 24, 25

Hughes v. Judd,
   No. 12 Civ. 568, 2013 WL 1821077 (M.D. Fla. Mar. 27, 2013) .............................................24

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   No. 91 C 5425, 1992 WL 26705 (N.D. Ill. Feb. 7, 1992) ........................................................54

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    No. 08 Civ. 1317, 2012 WL 6738517 (S.D. Ind. Dec. 31, 2012) ............................................24

Jackson et al. v. Sheriff of Cook Cnty.,
   No. 06 C 0493, 2006 WL 3718041 (N.D. Ill. Dec. 14, 2006) ...........................................21, 24

Keele v. Wexler,
   149 F.3d 589 (7th Cir. 1998) ...................................................................................................19

Lacy et al. v. Cook Cnty.,
   897 F.3d 847 (7th Cir. 2018) ............................................................................................. 23-25

Lewis v. Tully,
   96 F.R.D. 370 (N.D. Ill 1983) ..................................................................................................54

Lippert et al. v. Baldwin et al.,
   No. 10-C-4603, 2017 WL 1545672 (N.D. Ill. Apr. 28, 2017) ...........................................21, 24

Love v. City of Chi.,
   No. 96 C 396, 1997 WL 120041 (N.D. Ill. Mar. 11, 1997) .....................................................54

Madrid v. Gomez,
  889 F. Supp. 1146 (N.D. Cal. 1995) ....................................................................................1, 33

Marion v. Columbia Correction Inst.,
  559 F.3d 693 (7th Cir. 2009) .....................................................................................................8

Mitchell v. Cate,
   No. 08-CV-1196 TLN EFB (E.D. Cal.) ...............................................................................1, 33

N.B. v. Hamos,
   26 F. Supp. 3d 756 (N.D. Ill. 2014) .........................................................................................23




No. 3:16-600-MAB                                                                                                                  iv
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 6 of 65 Page ID #707




Oshana v. Coca-Cola Co.,
   472 F.3d 506 (7th Cir. 2006) ...................................................................................................40

Parsons v. Ryan,
   754 F.3d 657 (9th Cir. 2014) .............................................................................................24, 26

Patrykus v. Gomilla,
   121 F.R.D. 357 (N.D. Ill. 1988) ...............................................................................................54

Phipps v. Sheriff of Cook Cnty.,
   249 F.R.D. 298 (N.D. Ill. 2008) ...............................................................................................40

Priutt v. City of Chicago,
   472 F.3d 925 (7th Cir. 2006) ...................................................................................................20

Rasho v. Walker,
   07-1298-MMM, 2016 WL 11514940 (C.D. Ill. Feb. 8, 2016) ................................................21

Riordan v. Smith Barney,
   113 F.R.D. 60 (N.D. Ill. 1986) .................................................................................................52

Rodriquez v. Vill. of Montgomery,
   No. 08 C 1826, 2009 WL 310893 (N.D. Ill. Feb. 9, 2009) ......................................................54

Rosario v. Livaditis,
   963 F.2d 1013 (7th Cir. 1992) .................................................................................................52

Rosas v. Baca,
   No. 12 Civ. 428, 2012 WL 2061694 (C.D. Cal. June 7, 2012)................................................24

Sandin v. Conner,
   515 U.S. 472 (1995) .................................................................................................................55

Scruggs v. Jordan,
   485 F.3d 934 (7th Cir. 2007) ...................................................................................................35

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    2007 WL 898600 (N.D. Ill. Mar. 21, 2007).............................................................................53

Townsend v. Fuchs,
   522 F.3d 765 (7th Cir. 2008) ........................................................................................... 7-8, 27

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   No. 08-07-SCW, 208 WL 758236 (S.D. Ill. Sept. 28, 2016).............................................16, 17

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   No. 3:08-cv-00007-GCS (S.D. Ill. Sept. 26, 2018)............................................................27, 34




No. 3:16-600-MAB                                                                                                                        v
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 7 of 65 Page ID #708




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   131 S. Ct. 2541 (2011) .............................................................................................................55

Wal-Mart Stores Inc. v. Dukes,
   564 U.S. 338 (2011) ..................................................................................................... 20, 23-24

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   Nos. 00-162-GPM, 00-708-GPM, 2006 WL 2639972 (S.D. Ill. Sept. 12, 2006) ..............21, 24

Wilkinson v. Austin,
   545 U.S. 209 (2005) ..................................................................................................... 35-36, 55

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   129 F.R.D. 636 (N.D. Ill. 1990) ...............................................................................................52

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   No. 06 C 552, 2007 WL 1238920 (N.D. Ill. Apr. 25, 2007)....................................................40

Statutes

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730 ILCS 5/3-6-2(a) (West 2019) ..................................................................................................11

730 ILCS 5/3-7-2 ...........................................................................................................................18

730 ILCS 5/3-7-3 .......................................................................................................................5, 18

42 U.S.C. § 1983 ..............................................................................................................................7

Other Authorities

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20 ILL. ADMIN. CODE § 504 Tbl. A ....................................................................................33, 39, 41

20 ILL. ADMIN. CODE § 504.12 ......................................................................................................12

20 ILL. ADMIN. CODE § 504.20 ................................................................................................21, 37

20 ILL. ADMIN. CODE § 504.30 ................................................................................................21, 37

20 ILL. ADMIN. CODE § 504.40 ................................................................................................12, 37

20 ILL. ADMIN. CODE § 504.50 ......................................................................................................37

20 ILL. ADMIN. CODE § 504.115 ........................................................................................19, 32, 39

20 ILL. ADMIN. CODE § 504.130 ..............................................................................................11, 30


No. 3:16-600-MAB                                                                                                                             vi
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 8 of 65 Page ID #709




20 ILL. ADMIN. CODE § 504.610 ..............................................................................................11, 26

20 ILL. ADMIN. CODE § 504.620 ..............................................................................................26, 30

20 ILL. ADMIN. CODE § 504.670 ....................................................................................................12

20 ILL. ADMIN. CODE § 504.670(a) ....................................................................................11, 31, 32

20 ILL. ADMIN. CODE § 504.690 ............................................................................12, 18, 21, 26, 39

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   Consequences and Dysfunctional Correctional Reactions, 22 Wash. U. J. of
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    Degrading Treatment of Punishment, 66th Sess., UN Doc. A/66/268 ¶ 84
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   International Crime and Justice Studies (2013) .......................................................................28

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   https://www2.illinois.gov/idoc/reportsandstatistics/Documents/JHA .....................................21

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    Jail, New York, Sept. 30-Oct. 1, 2015. http://johnjaypri.org/category/research-
    and-publications/ ........................................................................................................................1

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No. 3:16-600-MAB                                                                                                                            vii
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 9 of 65 Page ID #710




       Plaintiffs Henry Davis, Douglas Coleman, Aaron Fillmore, Jerome Jones, DeShawn

Gardner, and Percell Dansberry submit this Memorandum of Law in support of their motion

pursuant to Federal Rule of Civil Procedure 23 to certify a class of all prisoners who are now or

will be incarcerated in adult correctional facilities by the Illinois Department of Corrections

(“IDOC”) and thus who are at risk of being subjected to extreme isolation or who are currently

subjected to extreme isolation (“the Class”). 1

                                        INTRODUCTION

       Plaintiffs filed their Class Action Complaint For Declaratory And Injunctive Relief [Dkt.



1
  “Extreme isolation” is the consensus term used by correctional experts, including corrections
administrators, to describe segregation from the mainstream prisoner population in attached
housing units or free-standing facilities where prisoners are involuntarily confined to their cells
for upwards of 23 hours a day or more, given only extremely limited or no opportunities for direct
and normal social contact with other persons (i.e., contact that is not mediated by bars, restraints,
security glass or screens, and the like), and afforded extremely limited if any access to meaningful
programming of any kind.              See, e.g., Solitary Confinement: Ending the Over-Use
of Extreme Isolation in Prison and Jail, New York, September 30 - October 1, 2015.
http://johnjaypri.org/category/research-and-publications/; Wilkinson v. Austin, 545 U.S. 209, 223
(2005) (finding incarceration at a prison that practiced a restrictive form of solitary confinement
to be “synonymous with extreme isolation”); Haney, The Social Psychology of Isolation: Why
Solitary Confinement is Psychologically Harmful, Prison Service Journal, 181:12 at n.1 (Jan.
2009); see also Stephen Handelman, Changing the Rules for Solitary, The Crime Report (Jan. 15,
2016, 8:00 AM), http://www.thecrimereport.org/news/inside-criminal-justice/2016-01-changing-
the-rules-for-solitary. Extreme isolation includes, but is not limited to, double-celling prisoners
for updates of 23 hours a day or more in cells designed to hold only one person. Id. Double celling
leads to prisoners being “forced to interact with a cellmate under extremely close quarters that
afford little or no privacy or respite.” Record in Mitchell v. Cate, No. 08-CV-1196 TLN EFB
(E.D. Cal.), Dkt. 189, at 10. Further, these prisoners experience “constant and unavoidable
violations of personal space, in an environment of forced closeness that affords them no respite
from one another or opportunities to release the interpersonal tensions that inevitably result.” Id.
at 11; see also Madrid v. Gomez, 889 F. Supp. 1146, 1230 (N.D. Cal. 1995) (prisoners held in
extreme isolation “are severely deprived of normal human contact regardless of whether they are
single or double celled”); Stuart Grassian, Psychiatric Effects of Solitary Confinement, 22 Wash.
U.J.L. & Pol’y 325, 357–58 (2006) (“Confined groups comprising just two individuals may be the
most pathogenic of all.”). As demonstrated herein, IDOC currently houses prisoners in extreme
isolation. Ex. 1 Pfister Dep. 24:3–25:1; Ex. 2 Taylor Dep. 20:9–21:14. Professor Haney and Mr.
Vail refer to extreme isolation as “restrictive housing” in their declarations to be consistent with
the Illinois Department of Corrections’ terminology.
No. 3:16-600-MAB                                                                                   1
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 10 of 65 Page ID #711
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 11 of 65 Page ID #712




such as administrative segregation and security housing where prisoners are subjected to solitary-

like conditions of confinement”). Regardless of the technical label placed on extreme isolation—

solitary confinement, disciplinary segregation, investigative status, or administrative detention—

extensive research shows that the practice of subjecting individuals to extreme isolation causes

psychological pain and suffering as well as long-lasting emotional trauma, physical injury, and, in

extreme cases, death. Ex. 3 Haney Report ¶ 32; Ex. 4 Vail Report ¶¶ 18–20. Moreover, the

practice of punishing incarcerated individuals by subjecting them to extended periods of extreme

isolation has long been viewed by courts, prison authorities, bar associations, and United Nations

commissions on torture as a practice to be avoided in all but the most limited cases where the

individual presents a credible and continuing serious threat to others or himself. 2 And even in

those limited cases where extreme isolation may be arguably warranted, the conditions in which

the prisoners are kept should be humane and habitable.

       IDOC, however, does not restrict the use of extreme isolation to limited cases where the

individual presents a credible and continuing serious threat to others or himself. Instead, IDOC as

a matter of custom and practice, arbitrarily, capriciously, and routinely sanctions prisoners with

extreme isolation for months at a time for even the most minor prison infractions, including

disrupting group sessions, 3 refusing to cuff up, 4 and misusing toilet paper. 5



2
  See, e.g., Interim Report of the Special Rapporteur on Torture and Other Cruel, Inhuman or
Degrading Treatment of Punishment, 66th Sess., UN Doc. A/66/268 ¶ 84 (Aug. 5, 2011)
(concluding that “prolonged solitary confinement” can produce harmful psychological effects and
recommending that it be prohibited).
3
  Ex. 5 Doc. 0198765 (                   was sentenced to 1 month in segregation and 1 month C
grade for tearing up papers during a group session).
4
  Ex. 6 Doc. 0325698 (                 was sentenced to 3 months in segregation and 3 months C
Grade for refusing an order to cuff up).
5
  Ex. 7 Doc. 0156324                         was sentenced to 45 days in segregation for covering
his cell window with toilet paper); Ex. 8 Doc. 0316306                     was sentenced to one



No. 3:16-600-MAB                                                                                 3
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 12 of 65 Page ID #713
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 13 of 65 Page ID #714




holding these individuals for 23 or more hours each day are substantially smaller than the 50 square

feet per person which the Illinois legislature now requires for all new, remodeled, and newly

designed cells. 7 See 730 ILCS 5/3-7-3; see also Ex. 3 Haney Report ¶ 229; Ex. 4 Vail Report ¶

39; Ex. 16 Doc. 037851. Led in shackles to these tiny, filthy, cold, and barren cages, these

individuals are held in isolation for 23 hours or more a day, and are deprived of meaningful social

interaction and any ability to engage in any meaningful or productive physical or mental activity,

including educational programs. See, e.g., Ex. 3 Haney Report ¶¶ 29, 93; Ex. 4 Vail Report ¶ 70.

Examples of these segregation “cages” at IDOC’s prison in Menard, Illinois, are shown below in

photos taken in late 2018 during Professor Craig Haney’s and Mr. Eldon Vail’s inspections.




7
  Many of these cells were remodeled to replace the traditional bars with solid doors, which not
only further restrict light and fresh air, but also violates current Illinois requirements regarding
statutory size requirement. See Ex. 3 Haney Report ¶ 88; Ex. 4 Vail Report ¶¶ 40–42.


No. 3:16-600-MAB                                                                                  5
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 14 of 65 Page ID #715




       Moreover, correctional officers under the supervision and control of IDOC often engage in

practices which impose additional punishment beyond what is allowed under the policies

governing placement in extreme isolation by depriving these prisoners of what little sustenance

remains—access to nourishment and edible food, exercise, showers, bedding, and personal effects

(including their clothing) may all be arbitrarily denied and/or taken away without regard to their

constitutional due process rights. Ex. 4 Vail Report ¶¶ 14–20; infra Section II.A.

       IDOC’s indifference to prisoners’ due process rights is evident in the conduct of prison

officials at all levels of IDOC. For example,



                   . Ex. 17 Doc. 052472–74.




      .” Id. (emphasis added).


No. 3:16-600-MAB                                                                                6
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 15 of 65 Page ID #716




       IDOC’s extreme isolation policies and practices are cruel, inhumane, offensive to basic

human decency, and in violation of the Eighth and Fourteenth Amendments to the United States

Constitution. Accordingly, Plaintiffs, who are or have been held by IDOC in extreme isolation,

bring this civil rights action pursuant to 42 U.S.C. § 1983 individually and on behalf of all prisoners

who are now or will be incarcerated in adult correctional facilities by IDOC and thus who are at

risk of being subjected to extreme isolation or who are currently subjected to extreme isolation.

Plaintiffs challenge IDOC’s policies and practices, which place every individual incarcerated in

an IDOC facility at risk of being subjected to extraordinarily long and severely harmful extreme

isolation without constitutionally required due process. Consequently, Plaintiffs seek injunctive

relief against the unconstitutional use of extreme isolation by IDOC. As demonstrated herein, the

Rule 23 requirements for certifying a class action are satisfied.

                                   PROCEDURAL HISTORY

       Plaintiffs filed this action on June 2, 2016. Dkt. 1. Thereafter, Defendant moved to dismiss

pursuant to Federal Rule of Civil Procedure 12(b)(6). Dkt. 22; Dkt. 23. After receiving briefs

from the parties, this Court denied Defendant’s Motion to Dismiss. Dkt. 71.

       In regard to Plaintiffs’ alleged conditions of confinement, this Court noted:

       The Eighth Amendment requires a minimum standard for treatment of prisoners
       including that prisoners are provided with humane conditions of confinement.
       Farmer v. Brennan, 511 U.S. 825, 832–33, 114 S.Ct. 1970, 128 L.Ed.2d 811
       (1994) (citing Helling v. McKinney, 509 U.S. 25, 31, 113 S.Ct. 2475, 125
       L.Ed.2d 22 (1993)). Inmates must be provided with “adequate food, clothing,
       shelter, and medical care, and must ‘take reasonable measures to guarantee the
       safety of the inmates.’” Id. (citations omitted). In order to succeed on a claim
       for inhumane conditions of confinement, an inmate must establish: (1) that he
       was housed under conditions that were “‘sufficiently serious’ so that ‘a [jail]
       official’s act or omission results in the denial of the minimal civilized measure
       of life’s necessities’”, and (2) the defendant was deliberately indifferent to that
       risk. See Townsend v. Fuchs, 522 F.3d 765, 773 (7th Cir. 2008); Grieveson v.
       Anderson, 538 F.3d 763, 775 (7th Cir. 2008). In order to prove deliberate
       indifferen[ce], the plaintiff must show that the officials actually knew of the



No. 3:16-600-MAB                                                                                     7
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 16 of 65 Page ID #717




        condition but refused to take reasonable steps to resolve it. Townsend, 522 F.3d
        at 773; Grieveson, 538 F.3d at 775.

Id. at 9–10.

        In regard to Plaintiffs’ alleged deprivation of liberty interests, this Court observed:

        [M]ore recent Seventh Circuit cases have found that other forms of detention
        beyond disciplinary segregation can implicate a liberty interest, depending on the
        length of and conditions in detention. Compare Townsend, 522 F.3d at 722
        (“established position that inmates have no liberty interest in avoiding placement
        in discretionary segregation”) with Marion v. Columbia Correction Inst., 559
        F.3d 693, 697–98 (7th Cir. 2009) (distinguishing from Townsend case noting
        that it involved a relatively short period of segregation); Earl v. Racine County
        Jail, 718 F.3d 689, 691 (7th Cir. 2013) (although finding that inmate’s placement
        on suicide watch did not implicate a liberty interest, the Seventh Circuit noted
        that when an inmate is placed in more restrictive conditions, whether through
        protective custody or discretionary administrative segregation, “his liberty is
        affected only if the more restrictive conditions are particularly harsh compared to
        ordinary prison life or if he remains subject to those conditions for a significantly
        long time.”).

Id. at 14.

        After denying Defendants’ Motion To Dismiss, this Court entered a series of case

management schedules with discovery deadlines. Dkt. 28, 84, 121, 136, 168. The Scheduling and

Discovery Orders entered by this Court permitted a “preliminary inquiry into the merits of the

case” and stated that “priority shall be given to discovery on class issues.” See, e.g., Dkt. 168. In

order to conduct this preliminary inquiry, Plaintiffs requested and Defendant produced a sample

of master files of 5% of randomly-selected prisoners who are currently in extreme isolation.

Plaintiffs also took the depositions of six current or former IDOC employees, two current or former

employees of the Vera Institute, and one inmate currently in extreme isolation in Illinois prisons.

Additionally, Plaintiffs issued requests for the production of IDOC documents and retained two

expert witnesses to prepare expert declarations in support of our motion for class certification after

reviewing the record evidence, touring certain prisons, and interviewing prisoners in extreme

isolation. Defendant also deposed the six named Plaintiffs about their conditions of confinement.


No. 3:16-600-MAB                                                                                    8
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 17 of 65 Page ID #718




                                  STATEMENT OF FACTS

       IDOC has known that its policies, customs, and practices are unconstitutional for years,

but has failed to remedy its systematic constitutional violations. In 2009, IDOC retained the Vera

Institute of Justice 8 to study IDOC’s segregation policies and to make recommendations for

reform. Ex. 18 Austin Dep. 25:20–27:25. The Vera Institute, in turn, retained Dr. James Austin,

a renowned authority on correctional planning and research, to conduct the study. 9 Dr. Austin

visited IDOC’s prisons across the State of Illinois, interviewed IDOC staff, and studied IDOC’s

policies. Among other things, he observed that 70 people in the IDOC prison in Pontiac, Illinois

were subjected to disciplinary segregation sentences in excess of 10 years, id. at 188:1–11, and

that the average segregation sentence imposed in Pontiac was 1,652.7 days. Id. at 187:13–18. One

individual at Pontiac had been sentenced to 32,219 days in segregation, which was 76.5 years

beyond their release date. Id. at 192:7–10.

       After studying IDOC’s segregation facilities and policies, Dr. Austin presented IDOC with

his “major findings” in 2010. Id. at 85:4–90:17, Dep. Ex. 8; Dkt. 115 at 2–3. Dr. Austin’s findings

included:

       1. “[A]s a general rule, those persons who were in segregation at the Illinois
          Department of Corrections were subject to degraded conditions of confinement
          versus those who were in the general population.” Id. at 92:24–93:5.

       2. “[A] lack of uniformity between the types of [segregation] placements and the
          lengths of stay on the one hand, and the prior and current negative behavior on
          the other.” Id. at 101:9–13.




8
  The Vera Institute of Justice is a nationally-recognized not-for-profit organization dedicated to
improving justice systems. www.vera.org/about.
9
  Dr. Austin has a Ph.D. in sociology from the University of California, Davis and over 25 years
of experience in correctional planning and research. Ex. 18 Austin Dep. 9:17–10:22. He has
served as the director of several large U.S. Department of Justice (“DOJ”) funded research and
evaluation programs relating to correctional issues. Id. at 11:3–20.


No. 3:16-600-MAB                                                                                 9
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 18 of 65 Page ID #719




       3. “Prisoners in minimum custody who receive a major ticket receive [disciplinary
          segregation] rather than a change in custody.” Id. at 109:5–15.

       4. “There appears to be no formal policies standardizing wardens’ authority to
          reduce the amount of time in [disciplinary segregation] for good behavior based
          on an agreed-upon plan, nor is there a structured re-entry process for prisoners
          returning to general population from [disciplinary segregation].” Id. at 110:19–
          111:7.

       5. “[T]he conditions of confinement in [disciplinary segregation] are not
          acceptable with respect to recreation, showers, mental health treatment or
          contacts with clinical services staff and are not in line with best or standard
          practices in other systems.” Id. at 117:7–20.

       6. “The use of the step-down program from [administrative disciplinary
          segregation] is extremely limited.” Id. at 118:25–119:14.

       7. “Compared to other states, IDOC has a higher number of people in [disciplinary
          segregation] status, about 4 percent.” Id. at 124:20–125:3. “4 percent is very
          high for a state to have in disciplinary segregation.” Id. at 125:20–21.

       8. “Illinois is an outlier compared to other states in the union.” Id. at 125:22–24.

       In January 2013, Dr. Austin delivered to IDOC the Vera Institute’s Recommendations. Id.

at 154:5–25, Dep. Ex. 13. Vera Institute made 16 recommendations necessary to overhaul IDOC’s

segregation policies. Id. at 160:1–14, Dep. Ex. 13; Dkt. 115 at 2–3. In the end, IDOC only

accepted and implemented one of the 16 recommendations that related to prison transfers. 10 Id. at

160:1–14. As of his deposition on October 2, 2017, Dr. Austin was not aware of any additional

steps IDOC had taken to implement any of the remaining 15 reform recommendations. Id. at

162:7–163:13. IDOC’s lack of commitment to Vera Institute study and recommendations is

apparent and caused Dr. Austin to express the “sentiment that if the [IDOC] was not going to be

totally committed to the project, [he] certainly could work somewhere else.” Id. at 172:23–173:9.

       More than six years later and after three years of discovery in the present matter nothing


10
  IDOC adopted Vera’s recommendation to “[r]equire the Regional Deputy Director and the Chief
of Operations to approve all transfers to and from Pontiac and Tamms.” Ex. 18 Austin Dep. 160:1–
161:4, Dep. Ex. 14 at 3.


No. 3:16-600-MAB                                                                               10
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 19 of 65 Page ID #720
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 20 of 65 Page ID #721




        Prisoners can also be placed in Administrative Detention, which is allegedly “a

nondisciplinary status of confinement that removes an offender from general population or restricts

the individual's access to general population.” Id. § 504.690. 12 Because administrative detention

is supposedly “nondisciplinary,” a prisoner need not be found to have violated any department rule

to be placed in extreme isolation under this label. However, the standards governing living

conditions for prisoners in administrative detention are in all meaningful respects the same as those

for prisoners in disciplinary segregation. Id.; see also Ex. 21 Funk Dep. 36:9–38:16.

        Investigative status is defined as “a confinement status in which an offender's movement

may be restricted while an incident or matter is being investigated.” 20 ILL. ADMIN. CODE §

504.12. Similarly, temporary confinement is defined “a confinement status in which an offender

may be placed until a determination is made as to whether a disciplinary report or investigative

report is to be issued, or pending a disciplinary hearing.” Id. In general, prisoners housed in one

form of extreme isolation in IDOC are held in the same areas and cells as those held in other| forms

of extreme isolation. 13

        Prisoners are not afforded meaningful procedural rights to properly defend themselves

against being placed in extreme isolation. At disciplinary hearings, IDOC officials routinely

present no evidence on the basis of “confidentiality” concerns, refuse prisoners’ request to call

witnesses to testify on their behalf, do not allow prisoners to question the witnesses who testify

against them (and sometimes they are not even allowed to know who those witnesses are), and in

many cases are not even allowed to view the evidence used to find them guilty. 14 Before the



12
   The “general population” refers to those prisoners who are not given any specific treatment.
13
   Ex. 1 Pfister Dep. 21:21–22:15; Ex. 2 Taylor Dep. 88:9–12; 20 ILL. ADMIN. CODE § 504.40.
14
   Ex. 4 Vail Report ¶¶ 103–126; Ex. 22 Davis Dep. 19:15–20, 21:2–22:3, 22:13–24; Ex. 23
Coleman (10.21.2015) Dep. 81:14–85:11; Ex. 24 Coleman (06.27.2018) Dep. 34:8–36:2; Ex. 25



No. 3:16-600-MAB                                                                                  12
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 21 of 65 Page ID #722




hearing, prisoners are not often provided with notice sufficient to allow them to prepare a

defense. 15 After the hearing, they are not provided with an explanation of why they were found

guilty or why a specific sentence of extreme isolation was imposed. 16           For placement in

administrative detention, temporary confinement, and investigative status, there is no initial

hearing, and prisoners are routinely placed in these forms of extreme isolation based off of

“confidential” information. 17 Before being placed in extreme isolation, prisoners are not allowed

to properly defend themselves. Ex. 4 Vail Report ¶¶ 103–126.

        Inhumane and Unconstitutional Living Conditions in Extreme Isolation

        The conditions in extreme isolation differ drastically from those in general population.

Cells housing prisoners in extreme isolation are less than five-by-ten feet with up to two prisoners

housed in each cell. 18 And prisoners in extreme isolation can be left in their cells for 24 hours a

day with literally nothing to do. 19

        Prisoners in extreme isolation face almost the complete deprivation of meaningful social

interaction. Decades of research have shown that social interaction is fundamental to the physical

and mental well-being of all human beings and just as necessary to survival as shelter, fresh air,




Fillmore (10.8.2015) Dep. 14:16–17:14; 49:16–55:24, 87:15–88:15; Ex. 26 Doc. 0162826 (
       requested four witnesses at his disciplinary hearing and the request was denied).
15
   Ex. 4 Vail Report ¶¶ 103–126; Ex. 22 Davis Dep. 21:2–22:3, 22:13–24, Ex. 23 Coleman
(10.21.2015) Dep. 81:14–85:11; Ex. 25 Fillmore (10.8.2015) Dep. 14:16–17:14; 49:16–57:6,
87:15–88:15.
16
   Ex. 4 Vail Report ¶¶ 103–126; Ex. 22 Davis Dep. 13:1–4, 14:13–15:4, 20:11–20, 23:9–24:3,
26:24–27:12; Ex. 23 Coleman (10.21.2015) Dep. 81:14–85:11; Ex. 27 Coleman (10.28.2015) Dep.
122:20–131:11; Ex. 25 Fillmore (10.8.2015) Dep. 14:16–17:14; 49:16–57:6, 87:15–88:15.
17
   Ex. 4 Vail Report ¶¶ 72–73, 132–135; Ex. 28 Dansberry Dep. 16:14–17:23.
18
   Ex. 20 Atchison Dep. 102:2–24.
19
   Ex. 27 Coleman (10.28.2915) Dep. 110:6–111:6; Ex. 28 Dansberry Dep. 32:22–35:14; Ex. 25
Fillmore (10.8.2015) Dep. 19:7–20:4; Ex. 29 Gardner Dep. 10:13–11:4; Ex. 30 Shearrill Dep.
51:13–52:20.



No. 3:16-600-MAB                                                                                 13
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 22 of 65 Page ID #723
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 23 of 65 Page ID #724




        The conditions of extreme isolation cause and worsen existing psychological issues.24

Despite IDOC’s knowledge that prolonged stays in extreme isolation cause and exacerbate existing

physical and psychological issues, 25 It has been estimated that 80% of prisoners in extreme

isolation are mentally ill. Ex. 3 Haney Report ¶ 29.

        Beyond this fundamental deprivation of meaningful social contact with other human

beings, prisoners in Illinois’ extreme isolation cells are also deprived of adequate food, shelter,

and fresh air.

        Shelter: Cell fixtures—such as toilets and sinks—are not properly maintained, with

prisoners having to wait long periods of time for maintenance requests to be fulfilled. 26 The cells

are often infested with bugs, mice, and birds. 27 The extreme isolation cells and areas surrounding

the cells are not kept clean, and IDOC officials do not provide prisoners with appropriate cleaning

supplies and do not clean showers and other common areas. 28

        Ventilation: Prisoners in extreme isolation also suffer from cells getting overheated in the

summer and too cold in the winter, something caused by not having any air conditioning system

at all, and inadequate heating systems, coupled with a complete lack of ventilation to provide air




24
   Ex. 4 Vail Report ¶ 71; Ex. 3 Haney Report ¶¶ 51–80, 203, 225; Ex. 23 Coleman (10.21.2015)
Dep. 92:4–93:19, 94:3–24; Ex. 27 Coleman (10.28.2015) Dep. 118:22–119:20, 120:2–122:4; Ex.
24 Coleman (06.27.2018) Dep. 38:20–42:22, 50:18–51:8, Ex. 32 Jones Dep. 25:4–26:24.
25
   Ex. 19 Baldwin Dep. 87:14–89:1; Dkt. 115.
26
   Ex. 4 Vail Report ¶¶ 22–30.
27
   Id.; Ex. 22 Davis Dep. 38:16–20, 40:19–43:7; Ex. 23 Coleman (10.21.2015) Dep. 35:22–36:24,
37:1–16, 38:20–39:10, 41:1–43:4; Ex. 27 Coleman (10.28.2015) Dep. 104:7–9, 135:23–136:2; Ex.
24 Coleman (06.27.2018) Dep. 17:10–12, 29:8–30:16, 52:9–16; Ex. 28 Dansberry Dep. 17:24–
18:19.
28
   Ex. 4 Vail Report ¶¶ 22–30 (noting that while touring IDOC facilities, he observed small black
specs in the water, mattresses with blood stains and many that were soiled and beyond their useful
life, and toilets that could not be flushed immediately or were broken); Ex. 23 Coleman
(10.21.2015) Dep. 42:14–43:4; Ex. 28 Dansberry Dep. 17:24–22:21.



No. 3:16-600-MAB                                                                                 15
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 24 of 65 Page ID #725




movement in extreme isolation cells. 29 IDOC officers also use the poor ventilation to “freeze out”

prisoners, as a form of punishment, by drastically decreasing the temperatures. 30

        Food: Prisoners are also given low-quality food and reduced portions, while in extreme

isolation. 31

        IDOC is Aware That the Conditions in Its Prisons Are Inhumane and
        Unconstitutional And Still Refuses to Take Reasonable Steps to Remedy Its
        Unconstitutional Policies And Practices

        IDOC has been on notice that the conditions of segregation violate prisoners’ constitutional

rights from the Vera study, its employees working in these facilities every day, and by this Court

issuing an injunction after reviewing the conditions at Menard Correctional Facility. During

Director Baldwin’s watch, this Court in Turley v. Lashbrook, No. 08-07-SCW, 208 WL 758236

(S.D. Ill. Sept. 28, 2016) permanently enjoined Jacqueline Lashbrook, then the warden of Menard

Correctional Center and one of Director Baldwin’s subordinates, from double-celling (a practice

of housing two or more prisoners) resident Turley in a single segregation cell. This Court found

that the segregation cells in Menard’s North 1 cell house are:

        shockingly small. They measure 4’8” wide by 10’ 8” long. This provides total
        floor space of 49.68 square feet. The cells are walled on three sides and barred on
        the side of the cell entry. They were originally designed to house a single inmate.
        The cells are equipped with a bunk bed 6’ 2” long by 31” wide and a toilet, sink,
        and TV stand on the far end of the cell. The height of the top bunk in relation to
        the bottom bunk makes it impossible for an average sized male to sit upright on the
        bottom bunk.

Id. at *2. “The only real activity that can be performed in this space is standing.” Id. at *3.



29
   Ex. 4 Vail Report ¶¶ 46–56; Ex. 22 Davis Dep. 44:3–13, 46:3–7, 49:3–50:11; Ex. 33 Doc.
0312281 (Michael         , an inmate in segregation, told a clinician that “[t]he heat doesn’t work.
See, it’s about 30 degrees. I’m freezing”).
30
   Ex. 4 Vail Report ¶ 51; Ex. 22 Davis Dep. 46:3–24.
31
   Ex. 24 Coleman (06.27.2018) Dep. 12:7–23; Ex. 31 Fillmore (6.26.2018) Dep. 10:14–12:24,
40:7–41:22; Ex. 29 Gardner Dep. 50:21–51:18, 52:2–53:11; Ex. 28 Dansberry Dep. 17:24–18:19,
26:9–28:1.


No. 3:16-600-MAB                                                                                  16
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 25 of 65 Page ID #726




       The Court further observed:

       On a good day, [Mr. Turley] will be out of his cell for four and ½ hours. On a bad
       day—one hour. During lockdowns, he won’t leave his cell at all. In fact, during
       those periods, the inmates are confined to their cells 24 hours a day with the
       exception of one shower per week. In the past, the frequency and extent of the
       lockdowns was much worse. Mr. Turley testified that they could last 30 to 60 days.

Id.

       And the Court continued:

       In the summertime, the cells are unbearably hot due to high temperatures and
       humidity in Southern Illinois and the poor ventilation and lack of air conditions in
       the cells. At such times the stench from human body odors can be overwhelming.
       Mr. Turley described it as akin to living in a bathroom. Another prisoner testified
       it was similar to the odor of an indoor enclosure at a zoo.

Id.

       The Court concluded that these conditions failed to meet the “minimal civilized measure

of life’s necessities.” Id. at *4. These conditions are so extreme that they also cause an excessive

risk to prisoners’ mental and physical health. Id.

       The discovery taken in the instant action, including the accompanying reports of Plaintiffs’

experts Dr. Craig Haney and Eldon Vail, confirm that Mr. Turley’s extreme isolation, as found by

this Court in Turley v. Lashbrook is consistent with that of the class representatives in this action

and that of IDOC extreme isolation population generally. The extreme isolation imposed by IDOC

on the prisoners in its care violates both the Eighth Amendment and the Due Process Clause.

Prisoners are placed in conditions unsuitable for human beings and denied basic privileges, without

being afforded any meaningful process. All prisoners placed in any form of extreme isolation

suffer the same violations of their Constitutional liberties.

       Despite this lawsuit alleging that his agency is engaged in the unconstitutional and inhume

treatment of the people in its custody, Defendant and IDOC Acting Director John Baldwin, who

had been on the job since 2015, had not even read the Complaint in this action as of his deposition


No. 3:16-600-MAB                                                                                  17
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 26 of 65 Page ID #727




on October 17, 2018. Incredibly, he had not investigated any of the Complaint allegations against

him, and he had not instructed any of his subordinates to do so. 32

       Director Baldwin even admitted that the “extreme isolation” conditions alleged in

Plaintiffs’ Complaint are accurate descriptions of IDOC facilities. 33 Kim Butler, a retired Chief

of Programs at IDOC and former Warden at Menard, concurs. 34

       Willfully ignorant, Director Baldwin testified that he was unaware of:

       •   The specific number of prisoner in administrative detention or segregation (but
           estimated that approximately 2,800 prisoners are in extreme isolation). 35

       •   The number of prisoners cycling between disciplinary segregation and
           administrative housing. 36

       •   730 ILCS 5/3-7-3, which requires new and remodeled cells to be at least 50
           square feet. 37

       •   Any separate documents or policies outside of Rule 504 that govern the use of
           administrative detention. 38

       •   Whether administrative detention is subject to the policies governing
           disciplinary segregation (504.690). 39

       •   Whether prisoners in administrative detention and prisoners in disciplinary
           segregation are housed in the same housing units. 40




32
   Ex. 19 Baldwin Dep. 33:11–35:4.
33
   Id. at 45:12–49:21.
34
   See Ex. 34 Butler Dep. 43:7–44:24 (testifying that the Complaint’s description of “extreme
isolation” is generally what takes place at Menard).
35
   Ex. 19 Baldwin Dep. 44:4–16; see supra note 8.
36
   Ex. 19 Baldwin Dep. 80:6–84:14.
37
   Id. at 164:11–165:3.
38
   Id. at 56:13–57:1. Other provisions governing the use of administrative detention include 730
ILCS 5/3-7-2 (setting forth basic provisions that IDOC facilities must provide for each inmate)
and 730 ILCS 5/3-7-3 (mandating that IDOC facilities “shall be cleaned regularly and properly
maintained” and requiring that facilities “provide at least 50 square feet of cell” space).
39
   Ex 19 Baldwin Dep. 54:23–56:11.
40
   Id. at 57:2–22.



No. 3:16-600-MAB                                                                               18
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 27 of 65 Page ID #728




       •   Any rule prohibiting stacking of disciplinary segregation time. 41

       •   Any upper limits on the length of time a prisoner can be placed in extreme
           isolation. 42

       •   Any disciplinary segregation time limits other than those in Rule 504 Table A,
           or any administrative detention time limits.43

       •   Whether the requirements of 504.115 (Indeterminate and Long Term
           Segregation Placement) are being followed. 44

       •   Any document or policy governing double celling. 45

       Director Baldwin was aware that the Vera Institute had worked with IDOC in 2010, but he

never asked to see any of the results and no IDOC employees ever showed him the 2010 findings

and recommendations. 46 As for Vera's conclusions as memorialized in the June and July 2010

Exit Meetings as well as the "Policy Checklist" that Vera created, Baldwin testified that his

deposition in 2018 was the first time he had seen any of these documents. 47

                                      LEGAL STANDARD

       Courts have “broad discretion” to determine whether to certify classes. Keele v. Wexler,

149 F.3d 589, 592 (7th Cir. 1998) (internal quotations and citations omitted). This determination

involves some consideration of the merits: “[m]erits questions may be considered to the extent -

but only to the extent - that they are relevant to determining whether the Rule 23 prerequisites for

class certification are satisfied.” Amgen Inc. v. Connecticut Ret. Plans & Trust Funds, 133 S. Ct.

I184, 1994–95 (2013). For a class to be certified, it must satisfy the requirements of Federal Rule




41
   Id. at 78:5–79:3, 86:6–17.
42
   Id. at 65:6–67:17.
43
   Id. at 86:1–5, 94:9–17.
44
   Id. at 72:7–76:24.
45
   Id. at 94:18–96:7.
46
   Id. at 192:11–195:4; Dkt. 115 at 4–5.
47
   Ex. 19 Baldwin Dep. 192:11–195:4, 207:7–209:19; Dkt. 115 at 4–5.


No. 3:16-600-MAB                                                                                 19
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 28 of 65 Page ID #729




23(a), and qualify as one of the three types of classes authorized by Federal Rule 23(b).

       To satisfy Rule 23(a), the proposed class must meet four requirements: (1) the class must

be “so numerous that joinder of all members is impracticable”; (2) there must be “questions of law

or fact common to the class”; (3) the claims or defenses of the named plaintiffs must be “typical

of the claims and defenses of the class”; and (4) “the representative parties will fairly and

adequately protect the interest of the class.” FED. R. CIV. P. 23(a).

       Once the requirements of Federal Rule 23(a) are met, a class action may be maintained

under Federal Rule 23(b)(2) where “the party opposing the class has acted or refused to act on

grounds that apply generally to the class, so that final injunctive relief or corresponding declaratory

relief is appropriate respecting the class as a whole.” FED. R. CIV. P. 23(b)(2). “When a class seeks

an indivisible injunction benefitting all its members at once, there is no reason to undertake a case-

specific inquiry into whether class issues predominate or whether class action is a superior method

of adjudicating the dispute.” Wal-Mart Stores Inc. v. Dukes, 564 U.S. 338, 362–63 (2011).

                                           ARGUMENT

   I. THE CLASS IS TOO NUMEROUS FOR JOINDER TO BE PRACTICAL

       The proposed Class in this case satisfies the numerosity requirement for class certification

because the proposed class includes tens of thousands of putative class members, who reside or

will reside in IDOC prisons, have limited resources, and whose claims may arise over time. A

class may be certified under Federal Rule of Civil Procedure 23 if it is “so numerous that joinder

of all members is impracticable.” FED. R. CIV. P. 23(a)(1). The numerosity inquiry does not turn

on whether the class includes some specific threshold number of members. See Allen v. City of

Chicago, 828 F. Supp. 543, 550 (N.D. Ill. 1993). Instead, the class must be composed of enough

members for their joinder to be impracticable. See Priutt v. City of Chicago, 472 F.3d 925, 926–

27 (7th Cir. 2006); Barragan v. Evanger’s Dog & Cat Food Co., 259 F.R.D. 330, 333 (N.D. Ill.


No. 3:16-600-MAB                                                                                    20
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 29 of 65 Page ID #730




2009). In cases where—as here—a class of prisoners challenges specific prison policies, the Class

satisfies the numerosity requirement because the significant size of the prisoner population

affected by each prison policy renders joinder virtually impossible. 48

       Here, joinder of all putative class members’ claims is impracticable because of the size of

the proposed Class. There are approximately 38,000 prisoners held in IDOC facilities. Operations

and Management Report (OMR) Key Variables, Fiscal Year 2020, ILLINOIS DEPARTMENT                 OF

CORRECTIONS 2 (July 2019), https://www2.illinois.gov/idoc/reportsandstatistics/Documents/JHA
                                                                          49
%20OMR%20JULY%20FY20.pdf. Currently, there are around                          prisoners confined in

extreme isolation throughout IDOC on a daily basis with around            prisoners held in extreme

isolation for some period of time each year. DalSanto Decl. ¶¶ 5–9, 10; see also Ex. 19 Baldwin

Dep. 44:8–45:11 (testifying that there are 2,860 inmates who face some restriction on their

privileges and movement while incarcerated). And the risk of being charged with a disciplinary

infraction at any time leading to placement in temporary confinement, investigative status, or

disciplinary segregation is not limited to prisoners housed in maximum-security prisons, the risk

is also present for prisoners in minimum- and medium-security prisons. See 20 ILL. ADMIN. CODE

§§ 504.20, 504.30. Further, any prisoner in any IDOC facility could be placed in administrative

detention at any time with no charge at all. Id. § 504.690.

       In addition to the sheer number of individuals in the putative Class, judicial economy,

location of class members, and the inability of class members to bring their own individual actions




48
   See Holmes et al. v. Godinez, 311 F.R.D. 177, 217 (N.D. Ill. 2015); Jackson et al. v. Sheriff of
Cook Cnty., No. 06 C 0493, 2006 WL 3718041, at *3 (N.D. Ill. Dec. 14, 2006); Westefer et al. v.
Snyder et al., Nos. 00-162-GPM, 00-708-GPM, 2006 WL 2639972, at *3 (S.D. Ill. Sept. 12, 2006);
Lippert v Baldwin, 10 C 4603, 2017 WL 1545672, at *2 (N.D. Ill. April 28, 2017); Rasho v.
Walker, 07-1298-MMM, 2016 WL 11514940, at *1 (C.D. Ill. Feb. 8, 2016).
49
   See supra note 8 for caveat as to the accuracy of the population figures.


No. 3:16-600-MAB                                                                                 21
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 30 of 65 Page ID #731




supports a finding that the numerosity requirement has been met. Without class treatment, each

putative class member would need to bring an individual suit against IDOC addressing the same

or very similar legal claims, resulting in indefinite future litigation and a waste of judicial

resources. Even if the claims were joined, it would be nearly impossible for class members to

coordinate their efforts meaningfully or to participate in the prosecution of their claims because

prisoners are incarcerated in various facilities throughout the State of Illinois and cannot readily

travel to participate in litigation.    See Holmes, 311 F.R.D. at 217; Arenson v. Whitehall

Convalescent & Nursing Home, 164 F.R.D. 659, 663 (N.D. Ill. 1996) (holding that factors such as

“judicial economy, geographic diversity of the class members, and the ability of class members to

institute individual lawsuits” can support a finding that a class is too numerous for joinder to be

practical). Likewise, virtually all of IDOC prisoners lack the financial resources necessary to

support the pursuit of their claims on an individual basis, even if joined together in the same action.

See Fields v. Maram, No. 04-C-0174, 2004 WL 1879997, at *5 (N.D. Ill. Aug. 17, 2004).

        Joinder is also impracticable here because membership in the Class is not static—the Class

necessarily includes prisoners who are not yet—but will be—housed in extreme isolation or at risk

for being housed in extreme isolation under the same policies and practices in the future. See U.S.

ex rel. Green v. Peters, 153 F.R.D. 615, 618 (N.D. Ill. 1994) (“There is no question that a class of

300 is such that joinder is impracticable—and when the class is also fluid as it is here (with new

members constantly meeting the class definition as time passes), the true impracticability of

joinder is reinforced.”). Further, the proposed Class seeks injunctive relief from the application of

various unconstitutional IDOC policies and practices related to assignment in extreme isolation.

A decision on these claims will necessarily affect the rights of class members who cannot be joined

to the instant action.




No. 3:16-600-MAB                                                                                    22
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 31 of 65 Page ID #732




   II. IDOC’S UNCONSTITUTIONAL POLICIES AND PRACTICES PRESENT
       QUESTIONS OF FACT AND LAW THAT ARE COMMON TO THE CLASS

       Plaintiffs satisfy Rule 23’s “commonality” requirement because their claims raise

questions of fact and law that are common to all members of the proposed Class. See FED. R. CIV.

P. 23(a)(2). Class members’ claims must “depend upon a common contention” that is “capable of

classwide resolution” to establish commonality. Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338,

350 (2011); see also Brand v. Comcast Corp., Inc., 302 F.R.D. 201, 218 (N.D. Ill. 2014). “What

matters to class certification . . . is . . . the capacity of a classwide proceeding to generate common

answers apt to drive the resolution of the litigation.” Wal-Mart, 564 U.S. at 350. This standard

can be met by providing “significant proof” that the defendant operated under a general policy of

harm shown through a direct statement or action generally applicable to the entire proposed class

despite the fact that there is necessarily “some degree of factual variation.” Id. at 353; Boundas v.

Abercrombie & Fitch Stores, Inc., 280 F.R.D. 408, 413 (N.D. Ill. 2012).

       Specifically, Plaintiffs’ claims satisfy the commonality requirement because they seek to

remedy the systematic violations of class members’ Eighth and Fourteenth Amendment rights

stemming from IDOC’s policies and practices related to the use of extreme isolation. Courts in

this Circuit and elsewhere routinely certify classes where “overarching systematic deficiencies” in

a government agency create “risk of harm” for all putative class members. See N.B. v. Hamos, 26

F. Supp. 3d 756, 773 (N.D. Ill. 2014) (finding the Wal-Mart and the Seventh Circuit “specifically

allow[]” for the finding of commonality “where a ‘systemic failure’ or an ‘illegal policy’ is alleged;

the policy is the ‘glue’ that unites otherwise individual claims”). This is especially true in cases

where, as here, plaintiffs seek class-wide injunctive relief from unconstitutional prison policies,




No. 3:16-600-MAB                                                                                    23
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 32 of 65 Page ID #733




practices, and conditions. See Lacy et al. v. Cook Cnty., 897 F.3d 847, 866 (7th Cir. 2018). 50

       “[N]umerous courts have concluded that the commonality requirement can be satisfied by

proof of the existence of systemic policies and practices that allegedly expose inmates to a

substantial risk of harm.” Parsons v. Ryan, 754 F.3d 657, 681 (9th Cir. 2014) (citing Chief Goes

Out v. Missoula Cnty., No. 12-Civ-155, 2013 WL 139938, at *5 (D. Mont. Jan. 10, 2013)).51

Plaintiffs claim, and intend to prove at trial, that IDOC’s policies and practices concerning extreme

isolation violate the Eighth and Fourteenth Amendments of the Constitution.             By its own

admission, IDOC’s policies, including those related to extreme isolation, apply generally to all

prison facilities and prisoners in IDOC’s system. See Ex. 1 Pfister Dep. 82:14-20; Ex. 19 Baldwin

Dep. 167:5–168:6.

       Class action treatment is appropriate in this case because the class claims revolve around

common questions of fact and law, the answers to which will confirm that IDOC is systematically

violating the Constitutional rights of the named plaintiffs and all members of the class. See Wal-

Mart, 564 U.S. at 350. With regard to Plaintiffs Eighth Amendment claim, the common questions



50
   See also Lippert et al. v. Baldwin et al., No. 10-C-4603, 2017 WL 1545672, at *3–4 (N.D. Ill.
Apr. 28, 2017) (certifying a class of prisoners challenging nine IDOC policies and practices
concerning treatment of serious medical conditions that exposed all class members to the
substantial risk of harm); Holmes et al. v. Godinez, 311 F.R.D. 177, 218–19 (N.D. Ill. 2015)
(certifying a class of deaf prisoners in IDOC and finding commonality where Plaintiffs alleged
and “sufficiently proved the existence of the statewide policies and practices”); Jackson et al. v.
Sheriff of Cook Cnty., No. 06-C-0493, 2006 WL 3718041, at *4 (N.D. Ill. Dec. 14, 2006)
(certifying a class of prisoners who complained of STD screening procedure that precluded valid
consent); Westefer et al. v. Snyder et al., Nos. 00-162-GPM, 00-708-GPM, 2006 WL 2639972, at
*4 (S.D. Ill. Sept. 12, 2006) (certifying a class with the “chief questions presented by the case
[being] whether Plaintiffs and the class [had] a liberty interest in avoiding assignment to Tamms
and, if so, what procedures are constitutionally required to safeguard that interest”).
51
   See also Butler v. Suffolk Cnty., 289 F.R.D. 80, 98 (E.D.N.Y. 2013); Hughes v. Judd, No. 12
Civ. 568, 2013 WL 1821077, at *23 (M.D. Fla. Mar. 27, 2013); Rosas v. Baca, No. 12 Civ. 428,
2012 WL 2061694, at *3 (C.D. Cal. June 7, 2012); Indiana Prot. & Advocacy Servs. Comm’n v.
Comm’r. Indiana Dep’t of Corr., No. 08 Civ. 1317, 2012 WL 6738517, at *18 (S.D. Ind. Dec. 31,
2012).


No. 3:16-600-MAB                                                                                  24
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 33 of 65 Page ID #734




permeating the class’s Eighth Amendment claims include, but are not limited to: whether IDOC’s

policies and practices regarding extreme isolation resulted in harm, and may result in serious future

harm, to prisoners in their care; whether the dangerous conditions resulting from IDOC’s policies

and practices of extreme isolation deprive class members of their basic human needs; whether

IDOC was deliberately indifferent to the harm that extreme isolation causes; and whether

Defendant Jeffreys, in his official capacity at IDOC, has violated the Constitution by subjecting

prisoners to unwarranted and unacceptable extreme isolation.

       The Class’s Fourteenth Amendment claims also turn on common questions, including, but

not limited to: whether IDOC prisoners are, as a matter of policy or practice, subjected to

disproportionately unfair extreme isolation sentences; whether IDOC’s policies regarding the use

of extreme isolation are vague and arbitrary; whether the length of disciplinary segregation

sentences are arbitrary and subject to abuse; whether the severe conditions the class members face

in extreme isolation implicate a constitutionally protected liberty interest; whether IDOC’s

disciplinary hearing policies and procedures afford prisoners due process to address the allegations

brought against them; whether the long-term use of extreme isolation as punishment results in

harm to individuals; and whether IDOC’s practices and policies violate the Fourteenth Amendment

by depriving prisoners of their rights to equal protection of the laws.

       Any factual variances between the conditions at the different prisons does not defeat

commonality because the common questions and answers are directly derived from IDOC’s

policies and practices. See Lacy, 897 F.3d at 865–66; Holmes et al. v. Godinez, 311 F.R.D. at 218–

20. Even if the extreme isolation conditions in one prison are slightly better than the conditions in

another, Rule 504 and IDOC’s administrative directives apply to all facilities, and the commonality




No. 3:16-600-MAB                                                                                  25
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 34 of 65 Page ID #735




of the class is derived from those policies and practices. 52 Additionally, IDOC’s policies and

practices apply equally to all inmates—including those who are single-celled and double-celled,

which is allowed under Rule 504. 53 The Class faces the same constitutional violations caused by

IDOC’s policies and practices.

         Further, IDOC’s use of different terminology for temporary confinement, investigative

status, disciplinary segregation, and administrative detention does not defeat commonality because

the conditions of confinement of each housing status constitute extreme isolation, and IDOC

houses prisoners in extreme isolation pursuant to the same set of policies, customs, practices, and

conditions. Id.; Ex. 2 Taylor Dep. 88:9–12; 20 ILL. ADMIN. CODE § 504.620 (governing the

“[s]tandards for living conditions in segregation,” defined to include “[t]emporary confinement

pending a disciplinary hearing or investigation” and “[d]isciplinary segregation resulting from a

disciplinary hearing” in Section 504.610); 20 ILL. ADMIN. CODE § 504.690(d) (requiring “[l]iving

conditions in administrative detention [to] meet, at minimum, the standards set forth in Section

504.620”). The policies and practices of IDOC are systemic and widespread, uniting prisoners

through the common question of whether these policies and procedures violate the Constitution.

Chief Goes Out v. Missoula Cnty., No. CV 12-155-M-DWM, 2013 WL 139938, at *5 (D. Mont.

Jan. 10, 2013) (“[C]ourts have long recognized that, in prison condition cases . . . the injury is the

[deprivation] itself, not just the negative effects resulting from the [deprivation.]” ); Parsons, 754

F.3d at 681 (9th Cir. 2014).

         Because class treatment will produce common answers to the Class members’ common

questions of law and fact and the Class seeks injunctive and declaratory relief which will resolve




52
     See Ex. 1 Pfister Dep. 82:14–20.
53
     See 20 ILL. ADMIN. CODE § 504.620(a); Ex. 21 Funk Dep. 49:9–16.


No. 3:16-600-MAB                                                                                   26
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 35 of 65 Page ID #736




each Class member’s rights and claims, a class action is the sole and appropriate way to remedy

IDOC’s violations and the commonality requirement is satisfied.

       A.      IDOC Systematically Exposes the Class to Inhumane Conditions that
               Constitute Cruel and Unusual Punishment

       The inquiry into whether IDOC’s policies and practices governing extreme isolation

expose Plaintiffs and the proposed class members to inhumane and dangerous conditions that

violate the Eighth Amendment’s prohibition against cruel and unusual punishment will involve

questions of fact and law common to all class members. See Farmer v. Brennan, 511 U.S. 825,

835 (1994) (holding that prison officials may violate the Eighth Amendment when they act with

“more than ordinary lack of due care for the prisoner’s interests or safety”) (internal quotations

omitted). The Eighth Amendment’s prohibition against cruel and unusual punishment requires

prison officials to provide inmates with “adequate food, clothing, [and] shelter,” and “take

reasonable steps to guarantee the safety of inmates.” Id. at 832–33. Accordingly, to prevail on an

Eighth Amendment claim based on confinement conditions, “an inmate must establish: (1) that he

was housed under conditions that were sufficiently serious so that a jail official’s act or omission

results in the denial of minimal civilized measures of life’s necessities, and (2) that defendant was

deliberately indifferent to that risk.” See Opinion and Injunction, at 3, Turley v. Lashbrook, No.

3:08-cv-00007-GCS (S.D. Ill. Sept. 26, 2018), Dkt. 370 (internal quotations omitted) (citing

Farmer, 511 U.S. at 834–37; Townsend v. Fuchs, 522 F.3d 765, 773 (7th Cir. 2008); Grievson v.

Anderson, 538 F.3d 763, 775 (7th Cir. 2008)).

               1.      IDOC’s Extreme Isolation Practices Expose Class Members to
                       Significant Risks of Physical and Mental Harm

       There is broad consensus in the corrections field and in the academic literature that the

placement of prisoners in segregation, as opposed to general population, creates a significant risk

of harm, both for those prisoners who are already mentally ill and those who are not. Ex. 3 Haney


No. 3:16-600-MAB                                                                                  27
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 36 of 65 Page ID #737




Report ¶¶ 51–83. As Professor Haney explains, social isolation is a significant risk factor for

depression, extreme anxiety, and significantly reduced cognitive function even for those who are

not predisposed to psychological disorders. Id. ¶ 41. Persistent isolation also contributes to

psychosis, paranoia, and suicidal behavior. Id. Indeed, extreme isolation “destabilizes prisoners

by undermining their sense of self or social identity and eroding their connection to a shared social

reality.” Id. ¶ 77. “Isolated prisoners have few if any opportunities to receive feedback about their

feelings and beliefs, which become increasingly untethered from any normal social context.” Id.

Dr. Terry Krupers, one of the nation’s foremost experts on the effects of isolation on prisoners,

explains:

       It’s predictable that prisoners’ mental state deteriorates in isolation. Human beings
       require at least some social interaction and productive activities to establish and
       sustain a sense of identity and to maintain a grasp on reality. In the absence of
       social interactions, unrealistic ruminations and beliefs cannot be tested in
       conversation with others, so they build up inside and are transformed into
       unfocused and irrational thoughts. Disorganized behaviors emerge. Internal
       impulses linked with anger, fear and other strong emotions grow to overwhelming
       proportions. 54

       For people who already suffer from psychological problems, the effects of isolation can be

even more debilitating. Ex. 3 Haney Report ¶ 79. “For prisoners prone to serious mental illness,

time served in isolation and idleness exacerbates their mental illness and too often results in

suicide.” 55 Many of the IDOC prisoners Haney interviewed displayed symptoms of severe

psychological and psychopathological harm as a result of the time spent in isolation. 56 At their

depositions, the named Plaintiffs testified extensively about the disturbing and unsanitary



54
   Kupers, T., Isolated Confinement: Effective Method for Behavior Change or Punishment for
Punishment’s Sake?, The Routledge Handbook of International Crime and Justice Studies (2013),
p. 5.
55
   Id. at p. 4.
56
   Ex. 3 Haney Report ¶ 27.



No. 3:16-600-MAB                                                                                  28
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 37 of 65 Page ID #738




infestation problems that pervaded their cells during their segregation sentences at IDOC’s various

facilities. 57 These issues are common across IDOC facilities, and they can persist for weeks or

even months before IDOC takes any steps to correct them. 58

           Further, cell temperature and poor ventilation were severe issues at every facility Mr. Vail

inspected, with temperatures reaching extremes in the summer and winter months. According to

one prisoner’s testimony, temperatures were so frigid in the winter that prison administrators

distributed plastic and tape for prisoners to cover the windows. 59 Indeed, in the harshest months,

the temperatures would be nearly the same in the cell and outside the prison. 60

           In a disturbing and inhumane practice known to prisoners as “freezing out,” IDOC

corrections officers use frigid temperatures as a way of further punishing people housed in extreme

isolation. “Freezing out” refers to corrections officers’ routine use of large fans to blow freezing

cold air through the cell blocks where individuals are housed in extreme isolation for hours at a

time. 61

           Loss of Basic Privileges. Prisoners who are housed in extreme isolation lose a variety of

basic privileges that are afforded to those held in the general population, and the loss of these

privileges exacerbates the deleterious physical and psychological effects stemming from severely

limited interactions with the world outside their cells. The cells are specifically designed to limit

a prisoner’s contact with other prisoners and guards. See Ex. 3 Haney Report, Ex. 3 thereto at e.g.,




57
   See Ex. 23 Coleman (10.21.2015) Dep. 35:22–43:4; 104:7–9, 135:23–136:2, Ex. 27 Coleman
(10.28.2015) Dep. 17:10–12, 29:8–30:8; Ex. 28 Dansberry Dep. 17:24–18:19; Ex. 22 Davis Dep.
38:10–20, 40:19–43:7.
58
   See Ex. 4 Vail Report ¶¶ 24, 28–29.
59
   Ex. 4 Vail Report ¶¶ 49, 52; Ex. 28 Dansberry Dep. 18:9–13.
60
   See, e.g., Ex. 4 Vail Report ¶ 46; Ex. 30 Shearrill Dep. 28:5–24.
61
   Ex. 4 Vail Report ¶ 51; Ex. 22 Davis Dep. 44:3–48:13.



No. 3:16-600-MAB                                                                                    29
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 38 of 65 Page ID #739




134919, 134792, 134797, 0349447, 134670 and 034244. People housed in extreme isolation take

their meals inside their cells, and receive decreased quantities of nutritionally sufficient food,

which can itself be exposed to insects and rodents. 62

       Those held in extreme isolation also lose essential privileges, including the ability to make

regular phone calls to friends or family, or regularly receive visitors. 63 20 ILL. ADMIN. CODE §§

504.130, 504.620(i). Prisoners’ access to basic religious and educational programming is also

either nonexistent or significantly diminished while in extreme isolation. 64 Further, prisoners held

in extreme isolation are generally not permitted to spend time outside their cells in congregate

spaces such as yards or day rooms, and they are generally not allowed to hold jobs within the

prison that would otherwise be opportunities for meaningful social interaction. All of these basic

privileges and opportunities, which prisoners lose near total access to in extreme isolation, are

widely available to prisoners housed in the general population. Consequently, those in extreme

isolation do not have the meaningful opportunities for simple social interaction afforded to the

general population. See Ex. 4 Vail Report ¶¶ 14, 20, 69.

       Out of Cell Time. Time afforded to prisoners outside of their cells is essential to their

wellbeing, but people held in extreme isolation are confined to their cells for upwards of 23 hours

per day. As Professor Haney explains, one of the primary reasons out of cell time is so important

is due to the stress of social isolation and physical limitations that come with living in segregation.

Ex. 3 Haney Report ¶¶ 92–93. Yet, under IDOC’s policies, access to recreation time is extremely

limited and the conditions prisoners face outside their cells can be similarly inadequate. IDOC’s




62
   See, e.g., Ex. 27 Coleman (10.28.2015) Dep. 12:1–15:18; Ex. 22 Davis Dep. 51:12–52:10,
52:16–53:8.
63
   See, e.g., Ex. 23 Coleman (10.21.2015) Dep. 54:18–55:4, 55:20–56:9, 137:13–141:10.
64
   See, e.g., Ex. 23 Coleman (10.21.2015) Dep. 19:20–22:20, 40:8–11, 113:1–11.


No. 3:16-600-MAB                                                                                    30
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 39 of 65 Page ID #740




current policy provides, “[o]ffenders in segregation status shall be afforded the opportunity to

recreate outside their cells a minimum of eight hours per week distributed in increments over no

less than two days per week.” 20 ILL. ADMIN. CODE § 504.670(a). However, IDOC officials at

each prison can distribute the allotted time at their discretion leading to allotments that only

exacerbate the effects of extreme isolation. Id. §§ 504.670(b)–(g). For example, prisoners can

receive access to the “yard” as little as two to three times per week. Because that recreation

requirement can be met without an opportunity for “congregate” recreation (i.e., recreation with

other human beings), moreover, that time out of cell can be spent confined alone to a different cell,

“a pod that has wire metal walls,” and nothing else. 65 Further, despite regulations to the contrary,

all prisoners who were deposed indicated that they routinely receive less than the eight hours

provided by IDOC’s policy. 66

       When prisoners are permitted to take recreational time, the yard conditions are unsanitary

and unsafe. Access to toilets and water in recreation areas is inconsistent, if it exists at all.67 At

certain prisons, recreational areas consist of small, concrete square confinements that are fenced

in like “dog cages.” 68 Prisoners are left outside on a bare slab of concrete with nothing to occupy

their time and no equipment with which to physically exercise. 69 Further, supervision on the

collective yards is often limited or nonexistent, which creates the severe risk of violence and

physical harm from other prisoners leading many to decline yard time even when it is offered for



65
   Ex. 21 Funk Dep. 54:1–16, 61:14–62:14.
66
   Ex. 4 Vail Report ¶ 61; Ex. 23 Coleman (10.21.2015) Dep. 110:6–112:1; Ex. 28 Dansberry Dep.
32:22–36:25; Gardner Dep. 11:5–21.
67
   Ex. 4 Vail Report ¶ 61.
68
   x. 25 Fillmore (10.8.2015) Dep. 19:7–20:4; 21:9–19; Ex. 3 Haney Report, Ex. 3 thereto at e.g.,
pages 0349276, 0349289, and 0349303.
69
   Ex. 34 Butler Dep. 40:22–43:6, 50:3–18; Ex. 31 Fillmore (6.26.2018) Dep. 13:1–19:4, 34:6–
35:11; Ex. 29 Gardner Dep. 19:21–21:19.



No. 3:16-600-MAB                                                                                   31
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 40 of 65 Page ID #741




fear of assaults by other prisoners. 70

        Individuals held in extreme isolation are permitted to leave their cells to shower—a

fundamental aspect of basic hygiene—as little as once a week. 71 20 ILL. ADMIN. CODE §

504.670(g). Unfortunately, the shower facilities in the extreme isolation housing units are

dysfunctional and unsanitary. See Ex. 3 Haney Report, Ex. 3 thereto at e.g., 134930, 134952,

134955, 134810 and 134811. During his visits to Menard, Pontiac, and Statesville, Vail observed

that the shower and hygiene facilities were dilapidated and filthy, appearing to be cleaned and

maintained only rarely. 72 The showers at these prisons had visible rust and dirt caked on their

surfaces, and showers at certain facilities lacked fixtures meant to ensure basic privacy. 73

        Double Celling. The debilitating psychological effects of confinement in extreme isolation

are further exacerbated for IDOC prisoners who are subjected to “double celling”: housing

multiple prisoners in the same cell. Double celling is permitted at all IDOC facilities. 20 ILL.

ADMIN. CODE § 504.115; Ex. 34 Butler Dep. 32:8–33:23 (double celling is a “routine practice”);

Ex. 20 Atchison Dep. 100:8–101:18; Ex. 19 Baldwin Dep. 95:14–96:7. Double celling leads to

prisoners being “forced to interact with a cellmate under extremely close quarters that afford little

or no privacy or respite.” 74 Further, these individuals experience “constant and unavoidable

violations of personal space, in an environment of forced closeness that affords them no respite



70
   Ex. 4 Vail Report ¶¶ 61–64.
71
   The named Plaintiffs consistently testified that while they were supposed to be allowed to shower
three times a week, but in many cases, access to showers was even more limited. See Ex. 23
Coleman (10.21.2015) Dep. 62:1–63:3, 64:1–70:1, 72:7–78:1; Ex. 27 Coleman (10.28.2015) Dep.
49:18–50:17; Ex. 28 Dansberry Dep. 32:22–36:25; Ex. 22 Davis Dep. 36:19–37:12, 58:9–12; Ex.
Ex. 25 Fillmore (10.8.2015) Dep. 21:25–23:1; 67:24–70:7; Ex. 29 Gardner Dep. 13:21–16:12.
72
   See Ex. 4 Vail Report ¶¶ 31–38.
73
   See id.
74
    Haney, The Wages of Prison Overcrowding: Harmful Psychological Consequences and
Dysfunctional Correctional Reactions, 22 Wash. U. J. of L. & Pol. 265, 273 (2006).



No. 3:16-600-MAB                                                                                  32
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 41 of 65 Page ID #742




from one another or opportunities to release the interpersonal tensions that inevitably result.” 75

       Generally, IDOC does not have separate cells for double celling inmates, and prisoners

may be double-celled in the same units described above, which are unfit for even a single occupant.

Ex. 21 Funk Dep. 49:9–19 (testifying that there are no set limits on the size of cells used in double

celling); Ex. 4 Vail Report ¶¶ 39–45. One prisoner at the Menard Correctional Facility explained

that there is not even enough room in these cells for both prisoners to be on the floor of the cell at

the same time. 76 If a prisoner protests being double celled, IDOC considers the prisoner to be

disobeying a direct order, resulting in further loss or restriction of privileges. Ex. 34 Butler Dep.

89:15–90:8; 20 ILL. ADMIN. CODE § 504 Tbl. A.

       Many members of the putative class are double-celled. But this does not ameliorate the

harm caused by social isolation. To the contrary, it makes it worse. The mental health of those

held in extreme isolation depends on access to meaningful social interaction. On the other hand,

forced proximity with for extended periods of time, with no privacy, does not amount to

meaningful social interaction, but instead makes matters worse.

       Double-celling significantly exacerbates the psychological effects of confinement in

extreme isolation. The practice fosters forced, strained interactions between prisoners on a nearly

constant basis. 77 In fact, under these harsh, strained conditions, the forced presence of another

person may become an additional stressor and source of tension or conflict. 78 In Professor Haney’s




75
    Record in Mitchell v. Cate, No. 08-CV-1196 TLN EFB (E.D. Cal.), Dkt. 189, at 11; see also
Madrid v. Gomez, 889 F. Supp. 1146, 1230 (N.D. Cal. 1995) (prisoners held in extreme isolation
“are severely deprived of normal human contact regardless of whether they are single or double
celled”).
76
   Ex. 4 Vail Report ¶ 39.
77
   See Ex. 3 Haney Report ¶ 91.
78
   Id.



No. 3:16-600-MAB                                                                                      33
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 42 of 65 Page ID #743




and Mr. Vail’s experience, assaults—and even lethal violence—between cellmates becomes more

frequent in cases where prisoners are double celled in extreme isolation. 79

       This Court recently addressed IDOC’s practice of double celling at Menard and found the

practice to be inhumane and unconstitutional. See Turley v. Lashbrook, Dkt. 370, No. 3:08-cv-

00007-GCS, at 9 (S.D. Ill. Sept. 26, 2018). As Judge Williams determined, even assuming that

prisoners “receive all scheduled recreation, programming, and meals outside of the cell,” double

celling “provides [] inmates with inadequate living space to meet the ‘minimal civilized measure

of life’s necessities.’” Id. “These conditions are so extreme that they also cause an excessive risk

to inmates’ mental and physical health.” Id.

               2.      IDOC Staff Subjects the Class to Persistent, Excessive Physical and
                       Verbal Abuse

       The overwhelming majority of the segregation prisoners Mr. Vail interviewees reported,

without him inquiring, that they had suffered from or witnessed acts of extreme physical abuse or

force by prison guards in extreme isolation. 80 Of the fifty-four prisoners Mr. Vail interviewed,

thirty-six reported being physically abused or witnessing beatings of other prisoners. This was the

case for “77% at Pontiac, 73% from Dixon, and 100% of the prisoners at Menard.” 81 Prisoners

detailed a litany of beatings at the hands of IDOC prison guards, which often took place outside

the view of security cameras. African American prisoners also described IDOC personnel’s

regular use of racially epithets and slurs. 82 To Vail, these reports portray a toxic culture among




79
   Id.
80
    See Ex. 4 Vail Report ¶¶ 152–157.
81
    Id. Notably, Vail was not explicitly seeking this information in its interviews. Nevertheless, it
emerged as a consistent theme of inmates’ experience in IDOC’s segregation units. Ex. 4 Vail
Report ¶¶ 152–157.
82
    Ex. 4 Vail Report ¶ 155.



No. 3:16-600-MAB                                                                                  34
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 43 of 65 Page ID #744




IDOC’s segregation administrators, which was confirmed by a Major at Lawrence, who described

the prison’s segregation facility as “the septic tank of IDOC.” 83

           B.     IDOC’s Hearing and Review Policies Violate the Class’s Due Process Rights

           Common issues of fact and law exist concerning the nature of IDOC’s procedures for

placing individuals in extreme isolation, conducting disciplinary hearings, and reviewing detention

status, and whether those procedures comport with the requirements of the Fourteenth

Amendment’s Due Process Clause. To prevail on a due process claim, an inmate must establish

that “(1) he has a liberty or property interest that the state has interfered with; and (2) the

procedures he was afforded upon that deprivation were constitutionally deficient.” Memorandum

and Order re: Defendant’s Motion to Dismiss, Dkt. 71 (S.D. Ill. Mar. 10, 2017), at 12 (citing

Scruggs v. Jordan, 485 F.3d 934, 939 (7th Cir. 2007)). A prison transfer can implicate a protected

liberty interest “if the transfer imposes atypical and significant hardships on the inmate in relation

to the ordinary incidents of prison life.” Memorandum and Order re: Defendant’s Motion to

Dismiss, Dkt. 71 (S.D. Ill. Mar. 10, 2017), at 12 (citing Wilkinson v. Austin, 545 U.S. 209, 223

(2005)).

           Here, there are common questions of fact and law concerning (1) whether prisoners have a

protected liberated interest in avoiding placement in extreme isolation, and (2) whether IDOC’s

hearing and review procedures for placing prisoners in extreme isolation meet the minimum

requirements of the Fourteenth Amendment’s Due Process Clause.

                  1.      IDOC’s Use of Extreme Isolation Interferes with the Class’s Protected
                          Liberty Interest

           Holding prisoners in extreme isolation interferes with a protected liberty interest because




83
     Id.


No. 3:16-600-MAB                                                                                   35
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 44 of 65 Page ID #745




it “imposes atypical and significant hardships on the inmate in relation to the ordinary incidents of

prison life.” Mot. to Dismiss Mem. and Order, at 12 (S.D. Ill. Mar. 10, 2017), Dkt. 71 (citing

Wilkinson v. Austin, 545 U.S. 209, 223 (2005)). Although there is no bright line rule for what

constitutes “atypical and significant hardships,” exposure to a confluence of factors including

limited human contact, inhumane housing conditions, and limited out-of-cell time or access to

exercise facilities for some extended period of time can amount to interference with a protected

liberty interest. See Wilkinson, 545 U.S. at 223–24.

       As described above, the record fully supports the conclusion that extreme isolation

infringes upon a protected liberty interest for all members of the proposed class. Indeed, this Court

has already held that Plaintiffs have plausibly alleged the infringement of a protected liberty

interest. See Mot. to Dismiss Mem. and Order, at 12–15 (S.D. Ill. Mar. 10, 2017), Dkt. 7. IDOC

systematically exposes those in extreme isolation to severe hardships and significant risks of

psychological and physical harm, as well as a drastically reduced set of basic privileges, all of

which fall well below the minimum quality of life available to prisoners in the general

population. 84 In addition to significantly worse cell conditions, rodent and insect infestations are

more rampant in isolation units than in general population units.85 Access to clean water is

significantly diminished, as are the portions and nutritionally quality of the food IDOC provides

to inmates in isolation as compared to those in the general population. 86 Likewise, IDOC places

extra limits on extreme segregated prisoners’ ability to make phone calls, visit the law library,




84
   See Ex. 4 Vail Report ¶¶ 14, 69; Ex. 3 Haney Report ¶¶ 232–39.
85
   See Ex. 23 Coleman (10.21.2015) Dep. 35:22–36:24, 41:7–12, 104:7–9; Ex. 27 Coleman
(10.28.2015) Dep. 17:10–12, 29:8–30:8; Ex. 29 Gardner Dep. 52:2–53:11.
86
   See Ex. 27 Coleman (10.28.2015) Dep. 30:23–32:18, 53:11–16; Ex. 29 Gardner Dep. 50:21–
51:18.



No. 3:16-600-MAB                                                                                  36
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 45 of 65 Page ID #746




receive visitors, participate in religious and educational programming, and take advantage of

recreational time and activities, all of which is typically available to inmates housed in general

population. 87   As Vail and Haney conclude, prisoners in extreme isolation suffer myriad

deprivations that vastly exceed what is typical for prisoners housed in the general population, and

this results in a much greater likelihood of psychological trauma. 88 Consequently, common

questions of fact and law exist concerning whether IDOC’s policies and practices frustrate

prisoners’ protected liberty interest not being subjected to the cruel and unusual conditions extreme

isolation.

                 2.    The Hearing and Review Procedures for the Class in Extreme Isolation
                       Fail to Meet the Minimum Requirements of Due Process

        IDOC’s policies and procedures surrounding extreme isolation are, at best, vaguely defined

and broadly applied 89 in a manner that violates the Due Process Clause of the Fourteenth

Amendment. Disciplinary offenses are listed in Appendix A to Section 504.20 of Title 20 of the

Illinois Administrative Code. See 20 ILL. ADMIN. CODE § 504.20. If an IDOC employee believes

that an individual has committed any of these offenses, he or she prepares a “disciplinary report”

or an “investigative report.” Id. at § 504.30. The shift supervisor can place the individual charged

with committing the offense into investigative status or temporary confinement (in other words, in

extreme isolation) pending the preparation of the report or while waiting for a disciplinary hearing

to be held. Id. at § 504.40. A “reviewing officer” is then assigned to review the temporary

confinement placement, interview the inmate, and review the disciplinary report. Id. at § 504.50.



87
   See Ex. 23 Coleman (10.21.2015) Dep. 51:12–52:6, 53:3–5, 54:18–55:4, 55:20–56:9, 137:13–
141:10; Ex. 29 Gardner Dep. 16:13–17:5; 25:2–26:3; 28:6–29:4.
88
   See Ex. 4 Vail Report ¶¶ 16, 69; Ex. 3 Haney Report ¶ 61.
89
   IDOC’s use of segregation differs from other states with similar programs. Ex. 4 Vail Report
¶¶ 20, 74.



No. 3:16-600-MAB                                                                                  37
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 46 of 65 Page ID #747




Major offenses (listed in the 100, 200, or 500 series of Appendix A) are assigned to the “adjustment

committee” for hearing and minor offenses (offenses listed in the 200 or 300 series) are assigned

to the “program unit” for hearing. Id. Both major and minor offenses include offenses that are

nonviolent and non-disruptive, posing little to no threat to the safety of the prisoners. 90 Most

prisoners in long-term disciplinary segregation are there for minor offenses. 91

       The hearings afforded prisoners accused of committing major offenses are extremely

limited and provide no significant opportunity for a prisoner to challenge the relevant allegations.

Ex. 4 Vail Report ¶ 16 (“The disciplinary hearing process in the IDOC is flawed and does not

provide prisoners with the necessary opportunities to contest the facts of the incidents or other

bases for placing the prisoners in restrictive housing”). IDOC administrators effectively possess

unchecked discretion to prohibit prisoners from calling witnesses. See, e.g., Ex. 4 Vail Report ¶

110 (finding that IDOC officials exercise unchecked authority to call or not call witnesses, and the

reasoning for their decisions are routinely omitted from the record); see also, e.g., Ex. 25 Fillmore

(10.8.2015) Dep. 17:10–14 (testifying that he “wasn’t given any details on who I could call for

witnesses, what evidence I could bring to dispute whatever’s being alleged against me”). In fact,

the consensus among prisoners is that the hearing process is “bogus” because requests for witness

appearances are routinely refused, and the hearing process does not involve any legitimate




90
   Indeed, Vail interviewed and reviewed the files of numerous prisoners who were placed in
extreme isolation for nonviolent, non-disruptive offenses, examples of which include: Impairment
of Surveillance by covering cell windows (Ex. 35 Doc. 0181049); Damage or Misuse of Property
for tying a food hatch open with a bedsheet (Ex. 36 Doc. 0181053); Damage or Misuse of Property
and Insolence for the prisoner refusing to remove his arm from a food hatch (Ex. 4 Vail Report ¶
84; Ex. 37 Doc. 0181250); Damage or Misuse of Property for kicking toilets and cell doors—even
where no damage was noted in the prisoner’s file (Ex. 4 Vail Report ¶ 99, Ex. 38 Doc. 0181256;
Ex. 39 Doc. 0161127); and the Possession of Dangerous Contraband for the possession of bobby
pins by a transgender prisoner (Ex. 21 Funk Dep. 104:4–106:18).
91
   Ex. 34 Butler Dep. 104:12–105:23.


No. 3:16-600-MAB                                                                                  38
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 47 of 65 Page ID #748




investigation whatsoever. Ex. 4 Vail Report ¶¶ 107, 111, 113. Indeed, as Mr. Vail points out, the

current IDOC policy does not require the prison officials conducting the hearing to review any

video footage, recordings, or photographs that might be available of the relevant incident. Ex. 4

Vail Report ¶ 119.

        The hearings can be conducted in the hallways outside of cells, and afford no substantive

process to the prisoners charged with minor offenses. Ex. 4 Vail Report ¶ 109. If a prisoner is

found guilty of the offense, he or she can be placed in disciplinary segregation for an almost

indefinite period of time. 20 ILL. ADMIN. CODE § 504 Tbl. A. Additionally, there is no upper limit

on the number of consecutive segregation sentences that an individual can serve and indeterminate

periods of segregation are permitted. Id. at § 504.115; see Ex. 1 Pfister Dep. 63:22–64:15

(testifying that there are prisoners with as many as 20 to 30 years of segregation time). There is

no clear explanation of the rationale for the length of segregation sentences. Further, an individual

sentenced to disciplinary segregation can be in extreme isolation for long periods of time without

any subsequent individualized reviews to determine whether the person should be removed from

extreme isolation. Ex. 20 Atchison Dep. 82:9–83:15 (testifying that a review of a prisoner’s status

usually resulted from the prisoner asking for a review, but prisoners typically do not know they

have that ability).

        Extreme isolation is also imposed on individuals without a hearing and even without notice.

Ex. 4 Vail Report ¶¶ 128–134. This practice, referred to as administrative detention, is ordered by

the Chief Administrative Officer of the prison typically with no review process or opportunity to

contest the allegations cited for the administrative detention. Administrative detention need only

be reviewed every 90 days. Individuals in administrative detention may remain in isolation

indefinitely. 20 ILL. ADMIN. CODE §§ 504.690(a), (c). IDOC uses administrative detention as a




No. 3:16-600-MAB                                                                                  39
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 48 of 65 Page ID #749




workaround, to keep prisoners in extreme isolation even when there is no disciplinary reason to do

so. For instance, Plaintiff Davis filed a grievance challenging a disciplinary report that resulted in

his placement in disciplinary segregation.      Upon review, the Administrative Review Board

expunged the disciplinary report and ordered that Mr. Davis be released from segregation. 92 Mr.

Davis was held in disciplinary segregation another 31 days, after which he was released to

Administrative Detention, where he remained for about six months. 93 An email chain between

IDOC personnel discussing review of Mr. Davis’ administrative placement reveals that he was

kept him in extreme isolation in spite of the Review Board’s decision because the decision “

                                 .” 94

     III. PLAINTIFFS ARE TYPICAL OF THE CLASS

        The claims of the named Plaintiffs are identical to the claims of other class members and,

thus, the Class satisfies Rule 23(a)(3)’s requirement that “the claims or defenses of the

representative parties are typical of the claims or defenses of the class.” FED. R. CIV. P. 23(a)(3).

The typicality requirement is “meant to ensure that the named representative’s claims have the

same essential characteristics as the claims of the class at large.” Oshana v. Coca-Cola Co., 472

F.3d 506, 514 (7th Cir. 2006) (internal quotation marks omitted).

        In prisoner cases, factual distinctions between the named plaintiffs and class members do

not defeat typicality. See Young v. Cnty. of Cook, No. 06 C 552, 2007 WL 1238920, at *6 (N.D.

Ill. Apr. 25, 2007) (“The likelihood of some range of variations in how different groups of new

detainees were treated [related to strip searches] does not undermine the fact that the claims of

each class share common factual basis and legal theory.”); Phipps v. Sheriff of Cook Cnty., 249



92
   Ex. 40 Doc. 000831; Ex. 22 Davis Dep. 12:4–8, 13:1–4, 14:13–15:4, 17:8–18:4, 26:24–27:7.
93
   Dkt. 76 at 6; Ex. 22 Davis Dep. 12:4–8, 13:1–4, 14:13–15:4, 17:8–18:4, 26:24–27.
94
   Ex. 17 Doc. 052472–4.


No. 3:16-600-MAB                                                                                   40
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 49 of 65 Page ID #750




F.R.D. 298, 301 (N.D. Ill. 2008) (“That the particular conditions may differ slightly from one cell

block to the next, or that there are factual distinctions between the actual injuries suffered by [the

named plaintiff] and the class members, does not defeat typicality under Rule 23(a)(3).”) (citation

omitted).

       The claims of Plaintiffs Henry Davis, Douglas Coleman, Aaron Fillmore, Jerome Jones,

Deshawn Gardner, and Percell Dansberry are typical of the Class as a whole because they arise

from IDOC’s conduct in applying system-wide policies and establishing or permitting practices

that subject both Plaintiffs and the Class to a substantial risk of confinement in extreme isolation.

This case is not about whether any prisoner in particular deserves discipline of some kind, but

whether the nature of the discipline Defendant has chosen is cruel and unusual and whether

Defendant imposes it without due process. What Plaintiffs individually did or did not do therefore

has no bearing on the typicality analysis, for they are typical in the crucial respect of being subject

to Defendant’s unconstitutional policies. Defendant uses extreme isolation as a disciplinary tool

with astonishing frequency and duration given the approximately 50 prison regulations that permit

placement in extreme isolation, the majority of which can be classified as relatively minor

offenses. See, e.g., 20 ILL. ADMIN. CODE § 504 Tbl. A (West 2010). These offenses include

conduct that poses no threat to the safety of other prisoners or the security of the correctional

facilities. Ex. 4 Vail Report ¶ 14 (“[Mr. Vail] conclude[d] that the ‘sanction grid’ for the

disciplinary process punishes prisoners with [disciplinary segregation] time for offenses that do

not create a serious threat to institutional security and do not otherwise arrant deprivation of such

freedoms and privileges.”). IDOC thus subjects Plaintiffs and all putative class members to the

substantial risk of serious harm resulting from unconstitutional confinement in extreme isolation.

   A. Henry Davis

       Henry Davis is a 46-year-old man currently housed in extreme isolation at Lawrence


No. 3:16-600-MAB                                                                                    41
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 50 of 65 Page ID #751




Correctional Center. 95 Mr. Davis has spent significant time in extreme isolation, including

extended time spent in Investigative Status and Administrative Detention. 96 Mr. Davis has

repeatedly been accused of being in a Security Threat Group (“STG”), but has never been told

what IDOC officials are relying on for these accusations. 97 When he has received a disciplinary

ticket, he has been given a hearing. 98 Yet at these hearings, he could not call witnesses or question

his accusers, and when he could provide evidence, it was not properly considered 99 nor was the

reasoning behind his guilty finding explained. 100

       After one hearing, Mr. Davis filed a grievance to challenge the disciplinary report that

resulted in his placement in disciplinary segregation. Upon review, the Administrative Review

Board expunged the disciplinary report and ordered that Mr. Davis be released from segregation. 101

Yet Mr. Davis was held in disciplinary segregation another 31 days, after which he was released

to Administrative Detention, where he remained for about six months. 102

       While in extreme isolation, Mr. Davis is forced to live in unbearable conditions and denied

basic privileges given to prisoners housed in general population. For example, he rarely can

receive visits from his family. 103 When he does, there is no contact allowed and visits are



95
   Dkt. 76 at 6; Ex. 22 Davis Dep. 11:3–12.
96
   Ex. 22 Davis Dep. 10:12–11:12, 23:22–24:3.
97
   Id. at 10:12–12:21, 23:22–24:16.
98
   Id. at 12:4–8, 19:12–20, 20:11–20, 21:2–22:3, 23:9–21, 27:4–16.
99
   Mr. Davis has been repeatedly accused of being a member of a STG, and in subsequent hearings
after his disciplinary ticket was expunged, Mr. Davis noted that IDOC officials presented “even
less[] than what they had before that [he] had expunged and [he] was found guilty and placed in
segregation again.” Id. at 19:5–20. When Mr. Davis challenged the conclusory statement that he
was a member of a STG without supplying any supporting evidence, no IDOC official present
replied to him, and he was sentenced to disciplinary segregation. Id. at 26:4–27:1.
100
    Id. at 12:4–8, 19:15–20, 21:2–22:3, 25:19–27:1.
101
    Ex. 40 Doc. 000831; Ex. 22 Davis Dep. 12:4–8, 13:1–4, 14:13–15:4, 17:8–18:4, 26:24–27:12.
102
    Dkt. 76 at 6; Ex. 22 Davis Dep. 12:4–8, 13:1–4, 14:13–15:4, 17:8–18:4, 26:24–27:12.
103
    Ex. 22 Davis Dep. 64:21–65:4, 65:11–66:3, 76:11–77:17.



No. 3:16-600-MAB                                                                                   42
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 51 of 65 Page ID #752




conducted behind glass barriers for a maximum of one hour. 104 He also is not allowed the same

phone privileges as those in the general population. 105 He cannot meaningfully work towards his

GED because he is only sent his homework and class materials, without any verbal instructions,

ability to work with other prisoners, or any other form of assistance. 106 While in segregation, he

is also not made aware of any religious programs, and even though he has asked, he is not allowed

to see the prison’s Chaplain. 107 There is no law library in disciplinary extreme isolation.108

Further, he is given small amounts of food, not given access to the commissary, and his cell is bug-

ridden, often freezing cold during the winter, and overly hot during the summer. 109 He spends

nearly 24 hours a day in his cell, where he cannot easily communicate with others outside his cell

because of the plexiglass on the cell door. 110 He is only allowed two hours of yard time per week,

usually on the same day. 111 At one point in 2013, Mr. Davis was even double celled. 112 Mr. Davis

has not experienced a difference in conditions between disciplinary segregation and administrative

detention. 113 Mr. Davis’ earliest release date is 2048. 114

        B.      Douglas Coleman

        Douglas Coleman is a 59-year-old man currently incarcerated at Western Illinois

Correctional Facility. 115 Mr. Coleman has been housed in extreme isolation at both Stateville and



104
    Id. at 76:20–77:17.
105
    Id. at 66:4–13.
106
    Id. at 58:13–59:5, 61:18–63:4.
107
    Id. at 60:4–61:3.
108
    Id. at 63:8–16.
109
    Id. at 15:5–17:4, 38:10–20, 40:19–43:7, 44:3–20, 46:3–47:7, 48:7–20, 49:3–50:11.
110
    Id. at 56:11–58:8, 74:5–17.
111
    Id. at 37:17–38:9.
112
    Id. at 39:5–7.
113
    Id. at 75:3–7.
114
    Dkt. 76 at 6.
115
    Coleman’s Resp. to Def.’s First Set of Interrogs. 9; Ex. 24 Coleman (06.27.2018) Dep. 10:7–



No. 3:16-600-MAB                                                                                 43
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 52 of 65 Page ID #753




Menard Correctional Center. 116

       During his time in extreme isolation, Mr. Coleman has experienced unbearable living

conditions and a deprivation of basic privileges afforded to prisoners housed in the general

population. The cells he has been confined in are often filthy with little air circulation. 117 His cell

was constantly infested with mice, roaches, and even birds – conditions far worse than he has ever

experienced while housed in the general population. 118 He also received significantly reduced

food portions compared to what he received when he was housed in the general population. 119 Mr.

Coleman was only given yard privileges once a week for the entire time he was in segregation, 120

and he was generally confined to his cell for about 24 hours a day. 121

       He was also deprived of other basic privileges, such as phone calls, access to religious or

educational programs, the gym, and a psychologist or social worker. 122 When he was allowed

visitation, which happened sparingly, it was through glass only. 123 At one point, he was double

celled for eight months, and one of his cellmates was a prisoner who was known to be mentally



11.
116
    See Dkt. 76 at 7; Ex. 24 Coleman (06.27.2018) Dep. 11:2–6.
117
     Ex. 23 Coleman (10.21.2015) Dep. 37:1–16, 38:20–39:10, 41:1–43:4; Ex. 27 Coleman
(10.28.2015) Dep. 104:7–9, 135:23–136:2; Ex. 24 Coleman (06.27.2018) Dep. 17:10–12, 29:8–
30:16, 52:9–16.
118
    Ex. 23 Coleman (10.21.2015) Dep. 35:22–36:24, 37:1–16, 38:20–39:10, 41:1–43:4; Ex. 27
Coleman (10.28.2015) Dep. 104:7–9, 135:23–136:2; Ex. 24 Coleman (06.27.2018) Dep. 17:10–
12, 29:8–30:16, 52:9–16.
119
    Ex. 24 Coleman (06.27.2018) Dep. 12:1–15:18.
120
    This is an example of IDOC not following its own rules in practice. Only receiving yard
privileges once a week is a direct violation of IDOC’s policy requiring prisoners in segregation to
receive a minimum of eight hours per week of time recreate outside their cells spread over no less
than two days. Ex. 4 Vail Report ¶ 60.
121
    Ex. 27 Coleman (10.28.2015) Dep. 110:6–14, 112:2–24, 113:1–11.
122
    Ex. 23 Coleman (10.21.2015) Dep. 40:8–11, 51:12–52:6, 53:3–5; Ex. 27 Coleman (10.28.2015)
Dep. 113:1–11; Ex. 24 Coleman (06.27.2018) Dep. 37:15–23.
123
    Ex. 23 Coleman (10.21.2015) Dep. 54:18–55:4, 55:20–56:9; Ex. 27 Coleman (10.28.2015) Dep.
137:13–141:10.



No. 3:16-600-MAB                                                                                     44
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 53 of 65 Page ID #754




ill. 124

           His time in extreme isolation has exacerbated his anger management problems, and he is

psychologically scared and frightened because of how he has been treated. 125 Mr. Coleman

suffered a stroke and became seriously ill around the time he was first placed in extreme isolation,

however, Mr. Coleman’s disabilities stemming from his stroke are not properly accommodated in

extreme isolation where he remains. 126 For example, Mr. Coleman is regularly not given his heart

medication, not allowed to use a wheelchair, and not allowed to sanitarily clean or use his

colostomy bag. 127 Because of this, Mr. Coleman has suffered from physical and psychological

injuries, which are only further exacerbated by his continued time in extreme isolation. 128

           Mr. Coleman had hearings for his disciplinary tickets but they provided him with nothing

that remotely resembles due process. 129 He was not allowed to question witnesses, provide a

proper defense, and was found guilty despite there being a complete lack of evidence against

him. 130

           Accordingly, Mr. Coleman has filed many grievances about his treatment while in extreme




124
    Ex. 23 Coleman (10.21.2015) Dep. 47:1–48:8, 56:18–57:13, 58:1–19; Ex. 27 Coleman
(10.28.2015) Dep. 117:8–118:21; Ex. 24 Coleman (06.27.2018) Dep. 36:6–20; Coleman’s Resp.
to Def.’s First Set of Interrogs. 9.
125
    Ex. 23 Coleman (10.21.2015) Dep. 92:4–93:19, 94:3–24; Ex. 27 Coleman (10.28.2015) Dep.
118:22–119:20, 120:2–122:4; Ex. 24 Coleman (06.27.2018) Dep. 38:20–42:22, 50:18–51:8.
126
    Ex. 24 Coleman (06.27.2018) Dep. 12:24–14:20.
127
    Ex. 23 Coleman (10.21.2015) Dep. 69:5–79:4; Ex. 27 Coleman (10.28.2015) Dep. 101:11–
102:23.
128
    Coleman (10.21.2015) Dep. 94:3–95:2; Coleman (10.28.2015) Dep. 119:4–20, 120:2–121:4,
137:10–138:11; Coleman (06.27.2018) Dep. 27:5–7, 38:17–41:15.
129
    Ex. 23 Coleman (10.21.2015) Dep. 81:14–85:11; Ex. 27 Coleman (10.28.2015) Dep. 122:20–
131:11; Ex. 24 Coleman (06.27.2018) Dep. 34:8–36:2.
130
    Ex. 23 Coleman (10.21.2015) Dep. 81:14–85:11; Ex. 27 Coleman (10.28.2015) Dep. 122:20–
131:11; Ex. 24 Coleman (06.27.2018) Dep. 34:8–36:2.



No. 3:16-600-MAB                                                                                 45
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 54 of 65 Page ID #755




isolation. 131 Yet, none of his grievances have been properly addressed. Mr. Coleman’s earliest

release date is 2059. 132

        C.      Aaron Fillmore

        Aaron Fillmore is a 44-year-old man who is currently incarcerated in extreme isolation at

Lawrence Correctional Center. 133 Mr. Fillmore has spent almost 20 years in extreme isolation.134

During that time, he has been continually confined in disciplinary segregation or administrative

detention. 135 Mr. Fillmore has not been provided with a meaningful opportunity to defend himself

against the charges which have consistently kept him in extreme isolation, such as meaningful

notice of what he did wrong to warrant such extreme and extended isolation. 136 For the hearings

he had, he was never informed of who he could call as a witness or given prior notice the hearings

would happen, which would have given him an opportunity to prepare. 137 Mr. Fillmore’s status

in Administrative Detention is periodically reviewed, but he is generally not allowed to attend the

review and is only informed of the results after a determination has been made. 138

        While in extreme isolation, Mr. Fillmore is denied most privileges afforded to those housed

in the general population. He has little to no physical contact with other people. 139 He is locked

up in his cell for 24 hours a day and cannot go anywhere without being handcuffed and shackled. 140




131
    Ex. 23 Coleman (10.21.2015) Dep. 89:24–93:19; Ex. 27 Coleman (10.28.2015) Dep. 132:17–
133:5.
132
    Dkt. 76 at 7.
133
    Id.at 8.
134
    Ex. 25 Fillmore (10.8.2015) Dep. 45:23–47:3.
135
    Fillmore’s Supp. Resp. to Def.’s First Set of Interrogs. 6.
136
    Ex. 25 Fillmore (10.8.2015) Dep. 14:16–17:14; 49:16–57:6.
137
    Id. at 14:16–17:9, 49:16–57:6, 87:15–88:15.
138
    Id. at 80:22–83:1.
139
    Fillmore’s Resp. to Def.’s First Set of Interrogs. at 5.
140
    Ex. 25 Fillmore (10.8.2015) Dep. 19:16–24.



No. 3:16-600-MAB                                                                                46
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 55 of 65 Page ID #756




While he is allowed minimal yard time, it is in a single cage. 141 He is not allowed to participate

in any educational or mental health programs. 142 Nor does he receive proper medical treatment,

and is only allowed one shower per day. 143 Mr. Fillmore was also double celled for a period of at

least three months with no mental health screening. 144 During his time being double-celled, Mr.

Fillmore suffered from panic attacks related to not having physical contact with another human

being for 16 years. 145 He is not allowed access to the main library, and he has been repeatedly

denied access to the law library further complicating his ability to obtain due process. 146 He also

receives substantially lower quality food compared with the food that prisoners in general

population receive. 147 He is not given access to any religious programs or a chaplain. 148 He has

limitations placed on his ability to make phone calls. 149 As a result, Mr. Fillmore has suffered

psychologically, primarily severe anxiety related to feelings of hopelessness, nervousness,

frustration, discomfort, and physical symptoms, such as sweats and shakes. 150 His earliest release

date is 2035. 151

        D.      Jerome Jones

        Jerome Jones is a 42-year-old man who is currently incarcerated in Pinckneyville



141
    Id. at 21:25–23:1, 67:24–70:7; Ex. 31 Fillmore (6.26.2018) Dep. 13:1–19:4; 34:10–35:11.
142
    Ex. 31 Fillmore (6.26.2018) Dep. 30:10–32:7, 36:21–38:15, 64:2–20.
143
    Ex. 25 Fillmore (10.8.2015) Dep. 26:4–29:16; Ex. 31 Fillmore (6.26.2018) Dep. 8:21–12:24,
21:20–22:16; 59:12–64:1.
144
    Ex. 25 Fillmore (10.8.2015) Dep. 38:21–45:22, 77:22–80:10; Fillmore’s Resp. to Def.’s First
Set of Interrogs. 9.
145
    Fillmore (06.26.2018) Dep. 20:5–12; Fillmore’s Resp. to Def.’s First Set of Interrogs. 9.
146
    Ex. 25 Fillmore (10.8.2015) Dep. 20:8–21:8.
147
    Ex. 31 Fillmore (6.26.2018) Dep. 11:2–12:8, 39:19–41:22.
148
    Ex. 25 Fillmore (10.8.2015) Dep. 70:16–72:19; Ex. 31 Fillmore (6.26.2018) Dep. 31:22–32:7,
36:21–37:16, 64:2–20.
149
    Ex. 25 Fillmore (10.8.2015) Dep. 57:22–59:5.
150
    Id. at 29:4–30:21; Ex. 31 Fillmore (6.26.2018) Dep. 19:5–21:1.
151
    Dkt. 76 at 8.



No. 3:16-600-MAB                                                                                 47
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 56 of 65 Page ID #757




Correctional Center. 152 Mr. Jones spent a little over two years in Phase III Administrative

Detention at Lawrence Correctional Center and Stateville Correctional Center. 153 Before being in

Phase III Administrative Detention at Lawrence, Mr. Jones was removed from the general

population at Stateville Correctional Center for reasons unknown to him and then transferred to

Lawrence about a month later. 154

       Despite not receiving a disciplinary ticket since 2001, Mr. Jones has never been able to

challenge the accusation of his alleged STG membership successfully, which he later learned was

the reason for IDOC putting him in extreme isolation. 155 Mr. Jones is not currently a member of

any STG. 156 While in extreme isolation, Mr. Jones has been denied the basic privileges afforded

to prisoners in the general population, such as decreased phone privileges, inability to attend

religious programs, and limited, no-contact visitation. 157 Mr. Jones “has [also] been deprived of

human contact, physical activity, quality light, quality food, quality water, quality heat, and quality

air” while he has been in extreme isolation. 158 He has also been confined to his cell for nearly 24

hours a day. 159 Mr. Jones was also double-celled for nearly a year, which increased his stress and

feelings of anger. 160 Because of his confinement in segregation and loss of basic privileges, Mr.

Jones suffers from major depression. 161 While Mr. Jones is currently in the general population, he



152
    Jones’s Supp. Resp. to Def.’s First Set of Interrogs. 13; Dkt. 76 at 8.
153
    Jones’s Resp. to Def.’s First Set of Interrogs. 6; Jones’s Supp. Resp. to Def.’s First Set of
Interrogs. 8–9, 14–15.
154
    Jones’s Supp. Resp. to Def.’s First Set of Interrogs. 4–5.
155
    Id.
156
    Id. at 5.
157
    Jones’s Resp. to Def.’s First Set of Interrogs. 8; Jones’s Supp. Resp. to Def.’s First Set of
Interrogs. 6–7.
158
    Jones’s Resp. to Def.’s First Set of Interrogs. 4.
159
    Id. at 5.
160
    Jones’s Supp. Resp. to Def.’s First Set of Interrogs. 8–9.
161
    Ex. 32 Jones Dep. 25:4–26:24.



No. 3:16-600-MAB                                                                                    48
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 57 of 65 Page ID #758




fears being placed back in segregation. 162 The last time Mr. Jones was placed in administrative

detention he was not informed of the reason, and he “was doing everything [he] was supposed to

do to avoid those types of situations.” 163 Mr. Jones’ earliest release date is 2038. 164

       E.      DeShawn Gardner

       DeShawn Gardner is a 47-year-old man currently incarcerated in extreme isolation at

Lawrence Correctional Center. 165 In 2013, he was placed into investigative status while at

Stateville Correctional Center, and then later transferred to Lawrence to be placed in administrative

detention. 166 Mr. Gardner never received a hearing or opportunity to challenge his placement in

Administrative Detention. 167 The first review of his conferment in Administrative Detention

occurred almost six months after his initial confinement despite the regulations requiring a review

every 90 days. 168

       While in extreme isolation, Mr. Gardner has suffered both mentally and physically. 169 He

is locked in his cell for 24 hours a day and forced to inhale the putrid smell of feces from the

gallery reeking as well as having his cell infested with insects and bugs. 170 He lacks access to

religious services. 171 And while he has access to a “satellite law library,” its utility is extremely

limited, unlike the full law library available to the general population. 172 He is allowed yard time




162
    Id. at 19:16–21:13.
163
    Id. at 19:19–21.
164
    Dkt. 76 at 8.
165
    Id.at 9.
166
    Ex. 29 Gardner Dep. 41:2–24.
167
    Gardner’s Resp. to Def.’s First Set of Interrogs. 6.
168
    See id.
169
    Ex. 3 Haney Report ¶ 184.
170
    Ex. 29 Gardner Dep. 11:5–21, 22:16–24:5, 27:9–28:5, 47:8–24, 48:3–14.
171
    Id. at 16:13–17:5.
172
    Id. at 12:7–13:20, 22:16–24:5, 27:9–28:5, 28:6–29:4.



No. 3:16-600-MAB                                                                                   49
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 58 of 65 Page ID #759




once per week for about two and half hours. 173 His only allowed visits are through Plexiglas

cutting him off from any physical contact with his loved ones. 174 As with other prisoners in

extreme isolation, he receives low-quality food compared with the prisoners in the general

population. 175 Mr. Gardner’s earliest release date is 2041. 176

       F.      Percell Dansberry

       Percell Dansberry is a 51-year-old man currently incarcerated at Pontiac Correctional

Center. 177 Mr. Dansberry was originally sentenced to three months of disciplinary segregation at

Pontiac Correctional Center, after receiving a disciplinary ticket for membership in a STG.178

After serving his three-month sentence, Mr. Dansberry was immediately transferred without notice

to Menard and placed in administrative detention. 179 Without being told the reason for his

placement, Mr. Dansberry remained in Administrative Detention for almost two years. 180 Mr.

Dansberry maintains that he cannot adequately defend himself because IDOC has never fully

informed him of the reasons for his placement in extreme isolation. 181

       During his time in extreme isolation, Mr. Dansberry suffered from unbearable living



173
    Id. at 11:5–21, 19:21–21:19. Here is yet another example of IDOC not following its own rules
in practice. Only receiving yard privileges once per week for only two-and-a-half hours is a clear
violation of IDOC regulation require that prisoners receive a minimum of eight hours per week to
recreate outside their cells spread over at least two days. Ex. 4 Vail Report ¶ 60.
174
    Ex. 29 Gardner Dep. 38:9–39:22.
175
    Id. at 50:21–51:18, 52:2–53:11.
176
    Dkt. 76 at 9.
177
    Id.
178
    Dkt. 76 at 9; Dansberry’s Resp. to Def.’s First Set of Interrogs. 6.
179
    Dkt. 76 at 9; Dansberry’s Resp. to Def.’s First Set of Interrogs. 6.
180
     Ex. 28 Dansberry Dep. 11:8–16. Since his deposition, Mr. Dansberry was transferred to
Western Illinois Correctional Center, but then was returned to Pontiac, allegedly based on conduct
he engaged in at Menard—conduct of which was the subject of a prior disciplinary report, which
had, in turn, been expunged. This is yet another example of a prisoner being punished after having
been found not guilty.
181
    Id. at 16:14–17:23.



No. 3:16-600-MAB                                                                               50
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 59 of 65 Page ID #760




conditions and denial of basic privileges, which he did not suffer from when housed in the general

population. In his cell, there were rodent infestations, no hot water, lack of heat in the winter,

insects, cockroaches, and no basic cleaning supplies rendering his cell uninhabitable. 182 He was

given substantially less food compared to what prisoners in general population receive. 183 He was

not allowed to participate in any programs, and he was only allowed in the yard for a limited time

each week. 184 He also was only allowed one shower per week. 185 In sum, Mr. Dansberry lived in

squalor with little to no physical contact or mental stimulation for almost 24 hours a day. 186 Mr.

Dansberry’s earliest release date is 2037. 187

                                  *       *        *      *      *

       The named Plaintiffs and the proposed Class seek the same declaratory and injunctive relief

from IDOC’s extreme isolation policies.          These policies and practices effect a systematic

deprivation of the basic human needs of Plaintiffs and the putative Class, and amount to a

disproportionate punishment meted out without Due Process. Consequently, Plaintiffs will ask the

Court to declare that IDOC’s acts and omissions stemming from its extreme isolation policies

uniformly violate the rights guaranteed to them and the putative Class by the Eighth and Fourteenth

Amendments of the United States Constitution. Plaintiffs will also seek an injunction that bars

IDOC from further constitutional violations and requires IDOC to implement policies that conform

its practices to constitutional standards. Because named Plaintiffs and the putative Class seek the

same relief and the risk of injury arises to Plaintiffs and the Class from the same system-wide




182
    Id. at 17:24–22:21.
183
    Id. at 17:24–18:19.
184
    Id. at 29:7–30:13, 33:3–36:23.
185
    Id. at 33:23–34:6.
186
    Id. at 32:22–36:25.
187
    Dkt. 76 at 9.


No. 3:16-600-MAB                                                                                51
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 60 of 65 Page ID #761




policies and practices, the Plaintiffs’ claims are typical of the Class.

   IV. NAMED PLAINTIFFS AND THEIR COUNSEL WILL ADEQUATELY
       REPRESENT THE CLASS

       Plaintiffs meet Rule 23(a)(4)’s “adequacy of representation” requirement because they

“will fairly and adequately protect the interest of the class.” FED. R. CIV. P. 23(a)(4). The

“adequacy of representation” standard weighs the adequacy of both the named plaintiffs and class

counsel. In addition to the requirements of Rule 23(a)(4), Rule 23(g) requires courts to evaluate

and appoint class counsel based on the determination that they will sufficiently represent the

interests of the entire class. Here, both Plaintiffs and their counsel are well situated to fairly and

adequately represent the interests of absent class members.

       Plaintiffs are adequate representatives of the absent class members because they are

similarly situated and have no conflicts of interest. To determine whether named plaintiffs are

adequate class representatives, courts look to whether the named plaintiffs have “sufficient interest

in the outcome to ensure vigorous advocacy.” Rosario v. Livaditis, 963 F.2d 1013, 1018 (7th Cir.

1992). Conversely, the named plaintiffs should not have any interests “antagonistic to the interests

of the class.” Riordan v. Smith Barney, 113 F.R.D. 60, 64 (N.D. Ill. 1986). The interests of named

plaintiffs and the absent class members are best aligned when the named plaintiffs have suffered

significant harm as a result of the policies or procedures being challenged. See Arreola v. Godinez

et al., 546 F.3d 788, 798 (7th Cir. 2008). Here, the named Plaintiffs share the same interests with

the Class because they have suffered harm stemming from IDOC’s existing policies, and would

benefit from changes to the policies regarding extreme isolation. Likewise, the injunctive relief

sought in this action will apply to all present and future class members equally, which reduces the

likelihood that any material conflicts of interest will arise. Williams v. Lane, 129 F.R.D. 636, 640

(N.D. Ill. 1990) (“Because members of the plaintiff class have homogenous interests as to the



No. 3:16-600-MAB                                                                                   52
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 61 of 65 Page ID #762




injunctive relief, their interests are sufficiently protected by the Rule 23(a)(4) requirement that the

court must determine that the class representative will ‘fairly and adequately protect the interests

of the class.’” Consequently, the named Plaintiffs will serve as more than adequate class

representatives.

       Plaintiffs’ counsel also satisfy Rule 23(a)(4)’s adequate representation requirements and

should be appointed class counsel pursuant to Rule 23(g)(1). Under Federal Rule of Civil

Procedure 23(a)(4), class counsel must be “qualified, experienced and able to conduct the proposed

litigation.” In re Sulfuric Acid Antitrust Litig., 2007 WL 898600, at *5 (N.D. Ill. Mar. 21, 2007).

Likewise, to appoint class counsel under Rule 23(g), courts must consider proposed counsel’s

qualifications. See FED. R. CIV. P. 23(g)(1)(A). This inquiry looks at several factors, including

counsel’s efforts to investigate potential claims, counsel’s experience in handling class actions and

other complex litigation, and claims of the type asserted in the present action. Id. Courts should

also consider class counsel’s knowledge of the applicable law and the resources that counsel will

commit to prosecuting the claims of the class. Id.

       Here, Plaintiffs’ counsel is qualified, experienced in similar matters, and will conduct the

proposed litigation vigorously and competently to promote the interests of the Class as a whole.

Plaintiffs are represented by a group of attorneys from Winston & Strawn LLP and the Uptown

People’s Law Center. Plaintiffs’ counsel have collectively brought numerous cases challenging

the constitutionality of various IDOC policies over a number of years, and are experienced in

litigating class actions and other complex litigations. Plaintiffs’ counsel have also spent over four

years investigating and developing Plaintiffs’ claims. In doing so, counsel has spent a substantial

amount of time and attorney resources investigating the facts of the case, conducting factual and

legal research, propounding and responding to discovery requests, drafting pleadings, and




No. 3:16-600-MAB                                                                                    53
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 62 of 65 Page ID #763




deposing IDOC personnel. 188

        Plaintiffs’ counsel have devoted and will continue to devote significant resources to the

pursuit of Plaintiffs’ claims, and thus satisfy the requirements of Rule 23(a)(4) and Rule 23(g)(1).

Because counsel is qualified, experienced, and fully able to conduct the class litigation, counsel

are well-qualified to represent the Class.

      V. FINAL INJUNCTIVE RELIEF AGAINST IDOC IS APPROPRIATE
         RESPECTING THE CLASS AS A WHOLE

        Along with satisfying Rule 23(a), a party seeking class certification must also meet one of

the requirements under Rule 23(b). Plaintiffs seek to certify a class for injunctive and declaratory

relief under Rule 23(b)(2); they are not seeking monetary damages. Under Rule 23(b)(2), class

certification is allowed where “the party opposing the class has acted or refused to act on groups

that apply generally to the class, so that final injunctive relief or corresponding declaratory relief

is appropriate respecting the class as a whole.” FED. R. CIV. P. 23(b)(2). Rule 23(b)(2) is

“particularly appropriate to vindicate alleged violations of constitutional rights based on a

government practice applied to numerous individuals.” Rodriquez v. Vill. of Montgomery, No. 08

C 1826, 2009 WL 310893, at *4 (N.D. Ill. Feb. 9, 2009); see also Love v. City of Chi., No. 96 C

396, 1997 WL 120041, at *5 (N.D. Ill. Mar. 11, 1997); Patrykus v. Gomilla, 121 F.R.D. 357, 362–

63 (N.D. Ill. 1988); see also Copeland v. Washington, 162 F.R.D. 542, 543 (N.D. Ill. 1995);

Imasuem v. Moyer, No. 91 C 5425, 1992 WL 26705, at *3 (N.D. Ill. Feb. 7, 1992); Lewis v. Tully,

96 F.R.D. 370, 378 (N.D. Ill 1983).

        Here, record evidence along with expert evidence offered by Dr. Haney and Mr. Vail

establish that IDOC’s system-wide policies and practices regarding placement and stays in extreme



188
  Please see attached Ex. 41 for additional detail regarding trial counsel for Winston & Strawn
LLP and UPLC’s experience as lead and/or trial counsel in other class action cases.


No. 3:16-600-MAB                                                                                   54
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 63 of 65 Page ID #764




isolation “‘impose[] ‘atypical and significant hardship[s] on the inmate[s] in relation to the

ordinary incidents of prison life.’” Wilkinson v. Austin, 545 U.S. 209, 210 (2005) (quoting Sandin

v. Conner, 515 U.S. 472, 472 (1995)). This implicates a common liberty interest among all

putative class members. Further, all class members face the same violations of the Eighth and

Fourteenth Amendments’ protection against cruel and unusual punishment as well as failure to

provide due process in violation of the Fourteenth Amendment’s Due Process Clause. Class

certification under Rule 23(b)(2) is appropriate here because “a single injunction or declaratory

judgment would provide relief to each member of the class.” Wal-Mart Stores, Inc. v. Dukes, 131

S. Ct. 2541, 2557 (2011). In particular, Plaintiffs ask this Court to grant declaratory relief and

enter an injunction requiring Defendant Director Jeffreys, as well as his officers, agents, servants,

employees, and any other person who acted in concert or who participated in the imposition and

enforcement of extreme isolation at IDOC facilities, to end the ongoing constitutional violations,

as well as require implementation of and conformation to revisions to IDOC policy pursuant to

Mr. Vail’s recommendations. This injunction would provide the necessary relief to the entire class,

including prisoners that are currently or will be subject to IDOC’s extreme isolation policies.

                                          CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that this Court to certify a Plaintiff

Class to seek declaratory and injunctive relief under Federal Rule 23(b)(2) and designate the

undersigned attorneys as class counsel.


Dated: September 6, 2019.




No. 3:16-600-MAB                                                                                     55
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 64 of 65 Page ID #765




                                         Respectfully submitted,

                                         By: /s/ Kimball R. Anderson

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No. 3:16-600-MAB                                                          56
Case 3:16-cv-00600-MAB Document 174 Filed 09/06/19 Page 65 of 65 Page ID #766




                               CERTIFICATE OF SERVICE

       The undersigned counsel for Plaintiffs hereby certifies that on this 6th day of September,

2019, he caused a copy of the foregoing MEMORANDUM OF LAW IN SUPPORT OF

PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION to be served by CM/ECF to all parties

and counsel of record.



Dated: September 6, 2019                     By: /s/ Kimball R. Anderson
                                                   Attorney for Plaintiffs

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No. 3:16-600-MAB
